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        GRAND CANYON UNIVERSITY~
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January 18, 2018


Michael J. Frola
Director
Multi-Regional and Foreign Schools Participation Division
U.S. Department of Education
830 First Street NE, 7th Floor
Washington, DC 20202

        Re: Grand Canyon University (OPEID 00107400) Request for Pre-Acquisition Review
        of a Proposed Change in Ownership


Dear Mr. Frola:

Enclosed are documents for your review in connection with Grand Canyon University's ("GCU"
or the "University") proposed change of control. As contemplated, this transaction would involve
the following:

   •    The parties to the transaction would be Grand Canyon Education, Inc., a Delaware
        corporation within which the University is currently operated ("GCE"), and Gazelle
        University, an Arizona nonprofit corporation qua lified as a 501(c)(3) organization (''New
        GCU"). New GCU is structured as a subsidiary of a parent 50l(c)(3) entity named the
        Grand Canyon University Foundation.

   •    GCE would sell to New GCU the academic-related assets, real estate and associated
        intangibles related to GCU which together would be sufficient for New GCU to achieve
        status as a Higher Leaming Commission ("HLC") -accredited institution. The purchase
        price for the transferred real property that constitutes the Grand Canyon University
        campus (campus land, dormitories, classrooms, parking garages, athletic facilities) would
        be determined following receipt of third party appraisals and subsequent negotiation, and
        would be paid in the form of a long-term note from New GCU to GCE subject to
        customary commercial credit terms. The purchase price will correspond to the fair market
        value of the real estate plus $1 for the academic and intangible assets. GCU' s current
        faculty, academic leadership and related staff would become employed by New GCU and
        New GCU would be governed by the current institutional board of trustees of GCU.
        GCE would retain all other employees and assets necessary to perform the third-party
        services contemplated by the sale, including an office complex where most services-
        related personnel are currently located. At closing, New GCU would change its name to
        "Grand Canyon University."

   •    GCE and New GCU would enter into a long-term master services agreement pursuant to
        which GCE would provide identified technological, marketing, promotional, financial aid



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                                                     AR-J-0001                                                  JA48
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        and other support services to New GCU in return for an agreed upon share of New
        GCU's tuition and fee revenue. The revenue share between the two entities remains
        subject to completion of a transfer pricing study and subsequent negotiation, but is
        expected to be comparable to other shared services arrangements currently in use in the
        higher education marketplace and to reflect the level of services that GCE would be
        providing to New GCU. The terms of the master services agreement would comply with
        the HLC' s recently adopted guidelines on shared services arrangements as well as the
        Department's guidance on "bundled services" agreements and requirements for "third
        party servicer" contracts.

On January 18, 2018, GCU submitted electronic documents requesting a preacquisition review of
the proposed transaction. The attached documents should provide almost all of the materials
necessary to constitute a "materially complete" application for GCU, as defined in 34 C.F.R. §
600.20(g)(2) . We appreciate the Case Team's willingness to begin its preacquisition review
based on these documents, which are quite substantial. We understand that the Department
requires a broader range of documents in connection with such non-profit transactions and
therefore we have attached the following:

   •    Signature page for the University's application;
   •    Audited financial statements of the University for the two most recently completed fiscal
        years that are prepared in accordance with Generally Accepted Accounting Principles
        (" GAAP" ) and audited in accordance with Generally Accepted Government Auditing
        Standards (" GAGAS" ), which have previously been submitted and reviewed by the
        Department through the e-Z Audit application;
   •    The University's most recent catalog                  can be accessed directly at
        https://www.gcu.edu/academics/academic-policies.php;
   •    The      University's     policy    manual       can    be    accessed     directly    at
        https://www.gcu.edu/Documents/University-Handbooks/University-Policy-Handbook-
        010818.pdf;
   •    The University's legal authorization;
   •    The University's most recent statement of accreditation;
   •    A chart showing the current and proposed post-transaction structure for GCU;
   •    Articles of incorporation for New GCU;
   •    By-laws for New GCU;
   •    The 501(c)(3) determination letter from the Internal Revenue Service for New GCU;
   •    Articles of Incorporation for Grand Canyon University Foundation;
   •    By-laws for Grand Canyon University Foundation;
   •    The 501(c)(3) determination letter from the Internal Revenue Service for Grand Canyon
        University Foundation;
   •    A list of members of the respective boards for GCE, New GCU and the Grand Canyon
        University Foundation;
   •    The draft Asset Purchase Agreement for the proposed transaction, which has been
        negotiated and is substantially complete;



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                                                      AR-J-0002                                                 JA49
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   •    The draft Credit Agreement between GCE and New GCU to finance the asset purchase,
        which has been negotiated and is substantially complete;
   •    The draft Master Services Agreement governing the shared services arrangement between
        GCE and New GCU, which has been negotiated and is substantially complete; and
   •    A list of proposed executives for New GCU post-transaction.
   •    In addition, audited financial statements of Grand Canyon University Foundation for the
        two most recently completed fiscal years that are prepared in accordance with GAAP and
        audited in accordance with GAGAS will be filed within the next few days;

Background and Reasons for the Proposed Transaction

GCU was founded in Prescott, Arizona in 1949 as a traditional, private, non-profit college under
the name Grand Canyon College and moved to its existing campus in Phoenix, Arizona in 1951.
Established as a Baptist-affiliated institution with a strong emphasis on religious studies, the
school initially focused on offering bachelor' s degree programs in education. The college
obtained regional accreditation in 1968 from the Commission on Institutions of Higher
Education, North Central Association of Colleges and Schools, the predecessor to the Higher
Learning Commission ("HLC"), and began offering nursing programs and master's degree
programs in education and business in the 1980s. In 1989, it achieved university status and
became Grand Canyon University. In early 2000, it discontinued its Baptist affiliation and
became an interdenominational Christian university.

By late 2003, the University was over $20 million in debt and teetering on the verge of
insolvency. Without a significant donor base, the University's only alternative to bankruptcy was
to sell the school to a group of investors who quickly implemented a new business plan that
included selling and leasing back the campus and instituting online programs designed for
working adults.

During the period between 2004 and mid-2008, GCU continued to focus on its financial stability
and growth primarily through online education while the ground campus continued to lose
money and ground campus enrollment remained stagnant. Then, in June 2008, during the process
leading to the University' s initial public offering in November 2008, the school hired a new
management team led by President Brian Mueller and Executive Vice President Dr. Stan Meyer.
This team had extensive experience operating another publicly traded education company with a
large online student population as well as in the area of campus-based, private, Christian
education.

Beginning in 2009, the management team turned the focus of Grand Canyon University to
reinvigorating its ground campus and creating a university that, in many respects, is
indistinguishable from the traditional private nonprofit universities with which it competes. Since
repurchasing the campus in 2009, the University has nearly doubled the campus footprint to over
270 acres and has invested over $1 billion in educational infrastructure including new
classrooms, dormitories, technology, and athletic and parking facilities. For the fall of 2017, the
University has approximately 19,000 students enrolled on its ground campus and an additional



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approximately 67,000 non-traditional students attending online. The growth has been
accomplished with tuition rates that are comparable to tuition rates for in-state students at state
universities and that are often 1/3 the rates charged by private nonprofit universities. The
painstaking re-engineering of the University has made a private, Christian education possible for
many who previously could only dream of such an opportunity.

Despite Grand Canyon University's indisputable success, and its strong belief that such success
i s poised to continue, the University's Board of Trustees believes that it is in the best interest of
the University's students, faculty and staff, and community to return to its historic not -for-profit
status. Its current classification as a for-profit university puts the University at a significant
disadvantage against other universities with which it competes academically and athletically, and
handicaps the University's ability to continue to offer very low tuition rates to its students . To
solve these and related issues, the Board of Trustees and administration of GCU and the Board of
Directors of GCE, have proposed, by the transaction described herein, to re-establish the
University as a traditional private non-profit University.

We hope it is self-evident that this transaction is not in the least intended to "evade" the
regulations applicable to proprietary institutions, as is sometimes alleged. The University's Title
IV revenue percentage under the "90/10 Rule" has consistently been far below the 90 percent
threshold. Moreover, none of its programs had failing rates under the Gainful Employment Rule,
which we believe confirms that University's commitment to hold down tuition, and therefore
student borrowing, as well as to deliver high quality programs.

Other Parties

Gazelle University (referred to herein as "New GCU") is a private, non-profit corporation that
has been incorporated in the State of Arizona and is an educational institution exempt from
Federal taxation pursuant to Section 509(a)(1) of the Internal Revenue Code and eligible to
receive tax-deductible contributions pursuant to Section 501(c)(3) of the Internal Revenue Code.
Under Arizona law, the control and governance of New GCU's affairs and disposition of its
funds are vested in its Board of Trustees. The transaction would not lead to any changes in the
legal status or the governing documents of New GCU, except that, upon closing of the
transaction, Gazelle University would change its legal name to "Grand Canyon University."

Grand Canyon University Foundation ("GCUF") is a private, non -profit corporation that has
been incorporated in the State of Arizona since 2010 and is exempt from Federal taxation
pursuant to Section 509(a)(1) of the Internal Revenue Code and eligible to receive tax-deductible
contributions pursuant to Section 501(c)(3) of the Internal Revenue Code. GCUF is the sole
member of New GCU and serves as its nonprofit parent. Historically, one of GCUF's main
activities has been organizing the "Run to Fight Children's Cancer," a local fundraising event
that involves significant volunteer staff time and thousands of participants and spectators. GCUF
is now completing the financial audits for its fiscal years ended December 31, 2015 and
December 31, 2016, which will be provided to the Department in the near future. The Board
members of GCUF and New GCU are identical and all of the members are long-standing



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members of the Board of Trustees of Grand Canyon University. Upon the closing of the
transaction, with the exception of Brian Mueller, there will be no overlapping board members,
officers or employees of New GCU and GCUF on the one hand and GCE on the other hand.
New GCU and GCUF will have no affiliation with, and will be completely autonomous from,
GCE upon the closing of the transaction.

GCE is incorporated in the State of Delaware and is a publicly-traded tax-paying business
corporation. It is expected that, upon the closing of the transaction, it would continue as a
publicly-traded corporation operating pursuant to its existing certificate of incorporation and
bylaws. Upon the closing of the transaction, with the exception of Brian Mueller, there will be
no overlapping board members, officers or employees of GCE on the one hand and New GCU
and GCUF on the other hand. GCE will have no affiliation with, and will be completely
autonomous from, New GCU and GCUF upon the closing of the transaction.

The Transaction

Subject to receipt of required approvals and satisfaction of other closing conditions, the parties
anticipate the closing of the proposed transaction to occur on or about April 1, 2018. As
discussed in the Asset Purchase Agreement, GCE would sell, and New GCU would employ all
academic-related staff and purchase all assets necessary to operate GCU as an HLC-accredited
institution of higher education, including:

   •    the real property that constitutes the Grand Canyon University campus and all
        appurtenances, improvements, certain personal property and certain intangible property
        related thereto (co llectively, the "Property");
   •    certain intangible property identified in the Asset Purchase Agreement, which shall
        include certain:
            o contracts, including faculty contracts and student relationships (the "Assumed
                Contracts");
            o intellectual property rights, including the name "Grand Canyon University" (the
                "Intellectual Property Assets");
            o syllabi and resource material and content for the graduate degree, undergraduate
                degree and other programs of study (the "Course Materials");
            o intellectual property rights in the Course Materials; and
            o other assets and rights of Seller

GCE is structured as a single corporate entity and currently operates GCU within that entity.
Following the closing of the anticipated transaction, New GCU would operate the university as
the Level 1 owner. GCUF, as the parent nonprofit corporation of New GCU, would be the Level
2 owner and the entity level at which New GCU would report its financial statements.

New GCU will finance the purchase of these assets through a Credit Agreement with GCE that
provides for (a) a maturity date of seven years following the closing, (b) a market interest rate,
(c) payments of interest-only, and (d) other market standard terms. Under the proposed Credit



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Agreement, New GCU has the ability to request that GCE fund budgeted capital expenditures for
the first three years following closing, which amounts, if funded, would be added to the principal
balance due.

At closing, New GCU would enter into the Master Services Agreement with GCE. This service
company relationship is a model that has been used at institutions throughout the country,
including in a recent transaction approved by the Department involving a newly created online
university within a high profile state university system which adopted a similar service
agreement in conjunction with a purchase of assets from a for-profit education company.

Consistent with HLC accreditation principles and industry practices, GCE would provide certain
technological, marketing, promotional, development, financial aid and/or support services to
New GCU. These services fit within the bundled service provider discussion in the Dear
Colleague Letter GEN-11-05 (March 17, 2011) ("March 2011 DCL"). Any persons involved
with recruitment or financial aid providing services to New GCU will not be paid incentive
compensation in compliance with 34 C.F.R. § 668.14(b)(22) consistent with the March 2011
DCL. As contemplated by the DCL, GCE will be independently owned and operated from New
GCU, both as a corporate matter and as a decision-maker with regard to the institution, which the
Department states it views as a significant safeguard from abuses it has observed. Importantly,
New GCU would retain all decision-making authority related to the admission and enrollment of
students, and control of faculty and academic matters, as well as over campus life, finance and
operations departments, strategic educational alliances, public safety, athletics, and advancement
and fundraising. In addition to separate governance, New GCU will also have numerous tools
incorporated into the Master Services Agreement with which it will be able to exercise oversight
over GCE's provision of services (including rights to audit service quality levels).

The majority of the current corporate management team at GCE would remain in their current
positions at GCE, while the academic leadership and administration of GCU, including the
Provost, college deans and faculty, would transfer to, and become employed by, New GCU.
Based on their current positions and roles, the remaining employees of GCE would be allocated
between New GCU and GCE depending upon their current job function. Aside from Mr.
Mueller, there would be no overlap between the management and employees of New GCU and
the management and employees of GCE. However, in an effort to promote stability in the
leadership of the organizations, Mr. Mueller, who has served as the Chief Executive Officer of
GCE since 2008 and as the President of GCU since 2012, would, upon the closing of the
transaction, remain as Chief Executive Officer of GCE and would become the President of New
GCU as is desired by the respective Boards. Upon the closing, Mr. Mueller will be compensated
by GCE and New GCU in manner reflecting his respective role at each entity.

At the closing, the members of GCU's existing institutional Board of Trustees would become the
members of the Board of Trustees of New GCU. Mr. Mueller would also remain as one of five
members of the board of directors of GCE. Aside from Mr. Mueller, there would be no overlap
between the Board of Trustees of New GCU and the board of directors of GCE. The five




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members of the New GCU Board of Trustees would be Will Gonzalez, Dr. Fred Miller, Dr. Jim
Rice, Don Andorfer, and Brian Mueller.

Requested guidance

GCU has been candid and transparent in providing the information about the transaction and
GCE has publicly disclosed the details of the proposed transaction in its Securities and Exchange
Commission filings1. We hope this information is helpful and can assist the Department in
responding to a critical question related to this transaction.

As described, GCE will be organized and operated independently from New GCU (and its
ownership structure) from an ownership and corporate perspective. In this regard, it is important
to note that both New GCU and its parent, GCUF, are nonprofit corporations that have no equity
owners. GCE will be a bundled service provider to New GCU and be providing such services,
including those related to recruitment or financial aid, in exchange for a share of tuition revenue
at market rates. This arrangement is consistent with HLC's new guidelines on shared services
agreements, including HLC' s standards for representatives of the shared service provider having
a role in management or on a governing board of a client institution.2 Importantly, GCE will not
pay persons involved in such services with improper incentive compensation. Also, New GCU
will, at all times, control admissions to the University and all academic matters related to the
University. While New GCU is confident that this arrangement is consistent with the intent of
the March 2011 DCL and prohibitions on the payment of improper incentive compensation, we
respectfully request written confirmation from the Department in its pre-acquisition response
letter that our conclusion is in fact correct. Specifically, New GCU would appreciate a statement
from the Department confirming that the transactions and proposed relationships described in
this letter and as set forth in the documents provided to the Department would not create or give
rise to any prohibited " affiliation" between GCE and New GCU that could render payments
under the Master Services Agreement improper under the Higher Education Act as interpreted by
the Department in the March 11, 2011 DCL. As this matter of critical importance going forward,
we request the opportunity to discuss the issue with the Department so there are no
misunderstandings and so that any guidance provided will be definitive.

Other Matters in the E-App

In addition to the proposed transaction, we have also requested that the Department add some
additional programs to GCU's ECAR at the certificate credential level. In response to the strong
demand for computer programmers in Arizona, GCU has decided to offer three intensive, 16-
credit, undergraduate certificate programs: Undergraduate Certificate of Completion in Java
Programming, Undergraduate Certificate of Completion in PHP, and Undergraduate Certificate
of Completion in Cybersecurity Foundations. Currently, GCU offers Bachelor's Degree

1
 See https://www.sec.gov/Archives/edgar/data/1434588/000119312518003723/d520011d8k.htm.
2
 Attached please find a copy of the new HLC standards governing this type of shared services arrangement and a
chart setting forth how the proposed structure complies with those standards.



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programs in these subject areas and the certificate programs are built from those Bachelor's
program courses. GCU will offer these programs at an affordable tuition rate of $8,000
roughly 30 % below the national average for bootcamp-style programs.3 Given the typically high
salaries for computer programmers, GCU believes these programs will be an attractive way of
addressing a true labor need in Arizona and the country. In addition, all of the credits earned in
these courses will be fully transferable to GCU's bachelor's program.

We are currently in the process of obtaining state approvals for these programs and expect such
approval within thirty (30) days. Once received, we will provide this approval to the
Department. Please note that our accrediting agency, HLC, does not require a separate approval
for these certificate programs since they are derived from our currently accredited higher level
programs. As such, we would appreciate the Department's willingness to include these
programs as a part of this application, and provide its approval when the official state approval is
received.

On behalf of the students, faculty and staff of GCU, we appreciate your consideration of our
application and request your approval of the transaction contemplated hereby.

Sincerely,



Brian E. Mueller
President
Grand Canyon University

Attachments




3
  According to the 2017 Coding Bootcamp Market Size Report published by Coursereport.com, the tuition of
comparable programs averages $11,400.



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January 8, 2020

Michael J. Frola
Director, Multi-Regional and Foreign Schools Participation Division
U.S . Department of Education
400 Maryland Ave. S. W.
Washington, D.C. 20202

Dear Mr. Frula:

On behalf of the hundreds of thousands of GCU students, faculty, staff and alumni across the
country, we want to thank you for meeting with us on December 16, 2019. While we continue to
disagree w ith the Department's position regarding the University' s nonprofit status for Title IV,
HEA purposes, and are reserving our rights to challenge the Department's decision, we are
setting forth several proposals below in response to the Department' s November 6, 2019 letter.
Our objective remains to meet the Department's standards for recognition as a nonprofit
institution for Title lV, HEA pw-poses and our hope is that we can work cooperatively with the
Department to achieve this objective.

From the beginning when we first met with the Department in September 2014, we have
attempted to be as transparent as possible about our intentions in returning the University to its
historical, nonprofit status. The University has been structured as a nunprufit institution for 56
of its 70-year history and we have consistently reinforced to the Department that the purpose of
the nonprofit transaction was to preserve the long-term legacy of the institution and afford
GCU's students and faculty all of the benefits of, and foll recognition as, a member of the
academy.

During our brief time together, we were able to share that since completing the University's
conversion back to its historical nonprofit status, GCU has continued to freeze its tuition for the
12 th straight year, generated $123.8 million in cash from operating activities, invested Sl 95.4
million into the University's educational infrastructure, and repaid$ I 00 million on its
outstanding line of credit. GCU closed its first fiscal year of operations with $325 million in
cash and generated a composite score of 1.6. In addition, we shared that the University believes
that it w ill be capable of self-funding all of its future capital expenditures which are expected to
total $500 million over the next 5 years to meet the projected student growth. GCU is receiving
ove1whelming support from its many constituents and has very few critics. The few critics it
has, though, predicted that GCU would struggle financially as a result of the transaction, but the
financial results we came to share obviously prove that those predictions were wrong. CCU also
has continued its strong record of regulatory compliance by far exceeding the Department's
regulatory requirements, including:




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   •   achieving a 5.6% cohort default for the Department's most recent calculation for 2016
       (well below the national average ofl0.l %);
   •   continuing its declining reliance on Title IV financial aid with a 90/ 10 calculation of
       70.05o/c, in 2018; and
   •   having no failing programs under the gainful employment rules .

Furthermore, GCU continues to receive stellar reviews from independent, third party experts in
higher education with 13 ditlerent accrediting and regulatory bodies having visited and fully
evaluated GCU's operations over the last 5 years with no findings and either full approval or a
recommendation of full approval.

As we discussed, the major challenges in higher education today are that university education is
too expensive, students are taking on too much debt, bachelor' s degrees are taking too long to
complete, and programs are not targeted enough toward current careers. During our one-hour
meeting, we were able to share how GCU has addressed all of these issues with the following
results:

   •   GCU students graduate with less debt on average ($18,750 according to the latest College
       Scorecard data) than at public and private nonprofit universities ($28,650 according to
       2017 data from the Institute for College Access & Success);
   •   40% of GCU' s traditional campus graduates are completing in 3 years;
   •   75.3% of campus students are studying in high-Jemand STEM + Business programs;
   •   approximately 50% of online students are studying at the Masters or Doctoral level ; and
   •   GClJ has frozen its traditional campus tuition for 12 years ,vith less than 1% annual
       increases for online programs.

We were hopeful at our meeting that the presentation of the University's many positive
accomplishments over the last 18 months might cause the Department to pause in recommending
changes to a structure that is clearly working for thousands of students and their families while
far exceeding the Department's regulatory standards. We believe that the prior approval of
GCU's structure by HLC and AZPPSE, combined with these positive results, prove that the
transaction was well structured and that the University is well positioned to continue operating in
a manner that serves its educational purpose. It was therefore di sappointing to hear at the end of
our meeting that the Department considered these results to be irrelevant and that, instead, the
University should focus its attention on the issues outlined in the Department' s November 6
letter.

ln accordance with your directive. we met and discussed potential changes to the structure of our
service agreement with Grand Canyon Education (GCE). At a special meeting of the Board of
Trustees held December 23, 2019, we approved a proposal that was presented to GCE for
consideration. The GCE Board of Directors met on December 26, 2019 to consider our proposal
and, while accepting most of the tenns of our proposal, countered with some clarifications and a
counter-proposal. The Board of Trustees met on January 7, 2020 to consider GCE's response
and adopt a revised countt:rproposal that was ultimately accepted by the GCE Board of
Directors. As a result of these negotiations, we arc pleased to present the revised terms set forth
in the negotiated tenn sheet and Amended and Restated Master Services Agreement, both of




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wruch are attached hereto on Exhibit A. The effectiveness of these changes have been approved
by both Boards and are contingent upon an updated transfer pricing study that ensures these
terms are at or below fair market standards and the acknowledgement that these changes will
satisfy the Department's requirements for recognizing GCU as a nonprofit institution for Title
IV, HEA purposes. We will provide the Department with a copy of the transfer pricing study as
soon as it is available. We believe these changes satisfactorily address the issues outlined in the
Department's November 6 letter.

We ask that the Department confin11 that these changes will meet the Department' s requirements
and allow the University to be properly recognized as a nonprofit institution for Title IV, HEA
purposes. We also ask that the Department confirm that GCE is, and at all times has been, an
"unaffiliated third party" for purposes of the Department's regulations. Upon receipt of the
Department's contirmat-ion of these two positions, and the completion of the updated transfer
pricing study, the parties will execute an amended service agreement based on these terms and
provide a copy to the Department.

Given the urgency of this matter to the University, we respectfully request that the Department
respond by January 24, 2020.

Sincerely,
On behalfof the Board of Trustees of Grand Canyon University




Will Gonzalez
Chairman, Board of Trustees




                                              AR-J-0090                                           JA58
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January 17, 2020

Mr. Will Gonzalez
Chairman, Board of Trustees
Grand Canyon University
300 West Camelback Road
Phoenix, Arizona 28017

Dear Mr. Gonzalez:

I am writing to provide an update in response to the letter you sent me on January 8, 2020 regarding
the revised tenns in the negotiated term sheet and Amended and Restated Master Services
Agreement. In the letter, you requested that the Department confirm that these changes will meet
the Department's requirements for Grand Canyon University (the University) to be recognized as a
nonprofit institution for Title rv, HEA purposes. Additionally, you asked the Department to
confirm whether Grand Canyon Education Inc. (GCE) is, and at all times has been, an "unaffiliated
third party" for purposes of the Department' s regulations.

First, I would like to thank you for the presentation GCU provided to the Department on December
16, 2019. The Department recognizes the barriers that GCU has overcome and the positive
accomplishments achieved over the past few years. Although the Department is supportive of
GCU's success, these accomplishments arc not determinant factors in the evaluation of whether
GCU is recognized as a nonprofit institution for Title IV, HEA purposes.

The Department is not able to re-determine its decision regarding GCU ' s for-profit status for Title
IV, HEA purposes based solely on the information in the revised term sheet and the Amended and
Restated Master Service Agreement. In your letter, you indicate that an updated transfer pricing
study (Updated Study) is forthcoming. The Department must still determine that the revised terms
in the agreements do not provide an excessive benefit lo GCE. Please note that while the vendor
providing the Updated Study may be jointly retained by both GCU and GCE, the Department
requires that the Updated Study and the Amended and Restated Agreement be reviewed by an
independent expert and that the expert render an opinion regarding the fairness of the Amended
Agreement to GCU. The expert providing that opinion must be retained solely by GCU. The
Department will undertake a review of the revised term sheet, the Amended and Restated Master
Services Agreement, and the other modifications set forth in the Board memorandum once it
receives and analyzes the Updated Study and the independent expert's opinion.

Counsel retained by GCE previously inquired whether GCE is considered an "unaffiliated third
party" for purposes of the March 17, 201 l Dear Colleague Letter (GEN-11-05) that addressed the
implementation of the program integrity regulations and the incentive compensation ban. That
question is currently under review, and needs to be reviewed in the context of the Amended


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Grand Canyon University Response to 01-08-2020 Letter
Page 2 of2

Agreement. The Department will provide the parties ,.,,·ith a response on that issue once the review
is completed.

The Department remains committed to its continued engagement with GCU regarding the
institution's nonprofit status for the purpose of the Title IV programs.



sfaZJ;U-
Michael Frola
Division Director
Multi-Regional and Foreign Schools Paiticipation Division

CC:     Wil l Gonzalez, Ch ainnan, Board of Trustees Grand Canyon University
        (email:                     )
        Brian Robe,ts, Chief Administrative Offil:er & General Counsel, Grand Canyon University
        (email:                        )




                                              AR-J-0093                                         JA60
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Dennis M. Cariello


From:                   Dennis M. Cariello
Sent:                   Monday, May 21, 2018 4:00 PM
To:                     Mangold, Donna
Cc:                     Frola, Michael; Arthur, Julie; Jonathon C.Glass(jglass@cooley.com)
Subject:                RE: Grand Canyon



Sorry for the bad message. You have it right - I just called to let you know that our obligation to HLC is to inform them
by May 31 when we are closing (we need to give them 30 days' notice). We do not need to give HLC your letter by
May 31. We would like to have your letter by then if possible (which will give us time to work through issues, etc.),
but we don't have to give that to HLC by May 31.

We will be informing HLC that we will close as of 12:01 am on July 1. We are also supposed to inform HLC of any
changes to the transaction. So, if there are changes you foresee we need to make, it would be very helpful if you
could let us know.

Thanks,

Dennis


From: Mangold, Donna [mailto:Donna.Mangold@ed.gov]
Sent: Monday, May 21, 2018 3:34 PM
To: Dennis M. Cariello
Cc: Frola, Michael; Arthur, Julie
Subject: Grand Canyon

Hi Dennis,

Got your message, but part of it at the beginning seemed to be cut out-So confirming that your message was that
the 5/31 deadline is for GCU to let HLC know when you plan to close, and that you intend to tell HLC that the date is
7/1. That you don't need our letter to go to HLC by 5/31.

Donna




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                                                         AR-J-0112                                         JA61
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Dennis M. Cariello


From:                  Dennis M. Cariello
Sent:                  Tuesday, June 19, 2018 7:37 PM
To:                    Mangold, Donna
Subject:               RE: GCU



Donna,

I'm trying to get you answers here (as I understand it, Deloitte expects to finishing fairly close to the closing)
- but would you just rather talk with Deloitte? I know this stuff is complex and it may be easier to just have
Deloitte walk through it with the relevant Department folks.

Also, what role does this information play in the Department's analysis? Are there thresholds we should be
aware of - or is the Department looking at this in a broader context?

Thanks again,

Dennis


-----Original Message-----
From: Mangold, Donna [mailto:Donna.Mangold@ed.gov]
Sent: Tuesday, June 19, 2018 2:09 PM
To: Dennis M. Cariello
Subject: RE: GCU

Dennis,

I don't think there is anything we need walking through on right now -- but it might help if we had a few
extra documents/info:

1. Has Deloitte finalized its report?
2. The trial balances referenced in footnote 36 of Deloitte's report.
3. In the Deloitte report, what trial balance costs were deemed to be paid by which entity {Gazelle or GCE)?

Thanks,
Donna




-----Original Message-----
From: Dennis M. Cariello [mailto:dennis.cariello@hmbr.com]
Sent: Tuesday, June 19, 2018 1:40 PM
To: Mangold, Donna
Subject: Re: GCU

                                                     AR-J-0128                                       JA62
              Case 2:21-cv-00177-SRB Document 48-1 Filed 12/15/21 Page 18 of 58

First - thank you for this. I won't forward given the other note.

Is there anything I can do to help walk folks through it? I think we believe this is pretty close to Purdue
Kaplan {president Daniels has said they lifted our documents, for example).

Is there a particular issue that is a sticking point?

Thanks,

Dennis

Sent from my iPhone

> On Jun 19, 2018, at 11:41 AM, Mangold, Donna <Donna.Mangold@ed.gov> wrote:
>
> Dennis,
>
> GCU is still under review by FSA staff and DPE. After that review, the proposed transaction has to go to
FSA leadership for review. This is a complex transaction that is taking significant effort to review and
analyze - as it is unlike any prior nonprofit conversion. As you know -- even limited to the matters in which
you and your firm are involved -- the FSA staff and DPE have competing demands on their time not only on
a daily basis, but on an hourly basis. And that is in a routine week, let alone in a week that brings
unexpected events in a transaction that was reviewed previously. We can't give you an ETA at this point.
>
> Donna
> {responded to you only-- because of my "unexpected events" comment).
>
> -----Original Message-----
> From: Dennis M. Cariello [mailto:dennis.cariello@hmbr.com]
> Sent: Tuesday, June 19, 2018 8:20 AM
> To: Mangold, Donna
> Cc: Jonathon C. Glass
> Subject: GCU
>
> Donna,
>
> I hope all is well. Jonathan and I have board meetings this week with our respective clients and we just
wanted to get a status update {and an ETA) for the preacq response letter. We just need to let the boards
know the most up-to-date information.
>
> And I really appreciate your work on all of this. I know you are swamped.
>
> Thanks
>
> Dennis
> 646-415-4471
>
> Sent from my i Phone
>
>
    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - > This email has
                                                        AR-J-0129                                   JA63
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                                           AR-J-0130                              JA64
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Dennis M. Cariello


From:                                    Dennis M. Cariello
Sent:                                    Wednesday, June 27, 2018 12:13 PM
To:                                      Mangold, Donna; Frola, Michael
Cc:                                     Jonathon C. Glass (jglass@cooley.com)
Subject:                                 RE: GCU


Thanks for this. Jonathan and I just left you a voicemail. Can we speak later today? I understand the difficulty with the letter, but even hearing orally
the direction the Department is headed would be somewhat helpful.

Let me know what works.

And as always, thanks.

Dennis

Dennis M. Cariello
Share ho Ider



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From: Mangold, Donna [mailto:Donna.Mangold@ed.gov]
Sent: Wednesday, June 27, 2018 11:58 AM
To: Dennis M. Cariello; Frola, Michael
Cc: Jonathon C.Glass(jglass@cooley.com)
Subject: RE: GCU

Thanks for the study. I don't have an estimate for the pre-acq response, but will try to check in with you again tomorrow or Friday.


From: Dennis M. Cariello [mailto:dennis.cariello@hmbr.com]
Sent: Tuesday, June 26, 2018 12:06 PM
To: Mangold, Donna; Frola, Michael
Cc: Jonathon C. Glass (jglass@cooley.com)
Subject: GCU

Donna,

As requested, attached is the transfer pricing study from Deloitte. Please let me know if you have any questions or
would like to discuss this further.

While I have you - any word on an ETS on the pre-acquisition review?

Thanks,

Dennis



                                                                                              AR-J-0131                                                                         JA65
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Dennis M. Cariello
Shareholder




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                                                                                              AR-J-0132                                                                          JA66
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Frola, Michael


From:                     Frola, Michael
Sent:                     Friday, January 17, 2020 11:35 AM
To:                       'Brian Roberts'; Mangold, Donna; Jones, Diane; Valentine, Ingrid; Finley, Steve
Cc:                       wgonzalez2; Frola, Michael
Subject:                  RE: GCU Meeting Follow Up
Attachments:              Grand Canyon Univ. Dept. Response 1.17.2020.pdf



Dear Mr. Roberts,

Please see attached Department response letter to Grand Canyon University's letter to me dated January 8,
2020.

Sincerely,
Michael Frola
Director
Multi-Regional and Foreign School Participation Division
Office: (202) 377-3364
michael.frola@ed.gov




From: Brian Roberts [mailto:
Sent: Wednesday, January 08, 2020 7:39 PM
To: Frola, Michael; Mangold, Donna; Jones, Diane; Valentine, Ingrid; Finley, Steve
Cc: wgonzalez2
Subject: GCU Meeting Follow Up

Good evening everyone-thank you again for meeting with us in December. Please see the attached letter and
attachments from our Chairman, Will Gonzalez. I missed the Fed Ex deadline today, but I will send hard copies
tomorrow. I am available to discuss at any time. Thank you, -Brian

Brian M. Roberts
Chief Administrative Officer & General Counsel

Grand Canyon University
3300 W. Camelback Road
Phoenix, AZ 85017
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M




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Steven M. Gombos



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                                                  August 14, 2020
      By email only

      Michael J. Frola, Director
      Multi-Regional and Foreign School
      Participation Division
      U.S. Department of Education
      Union Center Plaza, 73C3
      830 First Street, NE
      Washington, DC 20202


          Re:         Grand Canyon University's Nonprofit Status


      Mr. Frola:


      Grand Canyon University ("CCU") has hired our firm regarding its request to be recognized as
      a nonprofit institution.

      As you know, CCU proposed several amendments earlier this year to its transaction with
      Grand Canyon Education ("GCE"), all in response to concerns your office raised for the first
      time some 16 months after the deal closed. The University also provided the Department, nearly
      three months ago, with independent studies your office requested, which show the transaction's
      enormous benefit to CCU and its students.

      My client's general counsel, Brian Roberts, wrote to you on July 1, 2020, asking for an update on
      the status of the Department's review, but, to date, the Department has not responded. Because
      CCU addressed all of your concerns and also because the Department has no basis to deny
      CCU' s status as a nonprofit, we request that the Department issue a final agency decision con-
      firming CCU' s nonprofit status.

      The Department's ongoing delay in recognizing CCU' s nonprofit status is inexplicable as a legal
      matter. CCU is a nonprofit institution operating under all of the restrictions that status imposes,
      notwithstanding this agency's contrary decision. Moreover, that decision is indefensible. Under
      even the broadest conception of the Department's purported authority to determine nonprofit
      status under 34 CFR 600.2, the Department's analysis is arbitrary and capricious.




                                                    AR-J-0316                                        JA68
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Michael J. Frola, Branch Chief
August 14, 2020
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The crux of the Deparhnent' s decision is an analysis of the reasons why GCE considered the
deal to be beneficial-not GCU. It has been previously pointed out that GCU did not rely on the
Barclays Report cited so frequently in the Deparhnent' s decision. GCU' s motivation and basis
for executing the transaction lay elsewhere. A commihnent to its students and its Christian mis-
sion lay at the heart of its decision to seek nonprofit status.

Moreover, the Deparhnent questioned the terms of the Master Service Agreement between GCE
and GCU. But the Deparhnent has approved transactions involving similar revenue-sharing ar-
rangements and comparable terms, including the recent Kaplan-Purdue transaction, which is
very close to the structure GCU followed. Added to that is the fact the Deparhnent has no regu-
lations prohibiting such arrangements, which are common among many institutions of higher
education. In any event, both GCE and GCU agreed to significant proposed amendments to the
MSA in response to the Deparhnent' s concerns. So whatever can be said of the merits of the De-
partment's decision denying GCU nonprofit status, in an effort to avoid litigation, GCU has
proposed modifications to resolve those concerns.

Finally, broader than any specific factual conclusion in the initial decision, the Deparhnent' s
starting premise, that 600.2's definition of nonprofit institution authorizes it to independently
assess nonprofit status, fails. See Letter from U.S. Dept. of Educ. to Brian Mueller at 14 (Nov. 6,
2019).

1.     It is incompatible with the Department's regulatory framework. 600.2 simply defines
       what nonprofit means when used in 34 CFR Part 600. It is not a substantive regulation. In-
       deed, it is a guide to understanding the substantive regulations in Part 600 that use the
       term nonprofit-like 600.20(b)(2)(iii) or 600.31(d)(7).

       The definition cannot authorize what you claim it does without rewriting those provisions.
       600.31(d)(7) tells us that the change from proprietary to nonprofit status-read nonprofit
       here as 600.2 defines it-is a change in control that causes an institution to lose eligibility
       when the change occurs. The institution must then reestablish its eligibility by showing the
       Secretary it remains eligible after the change in control-in this case, after it changes from
       proprietary to nonprofit status. See 600.31(a)(3); 34 CFR 600.20(b)(2) (an institution must
       reapply to the Secretary to establish its eligibility "after the institution changes its status as
       a proprietary, nonprofit, or public institution") (emphasis added).

       By way of example: GCU lost eligibility on July 1, 2018, the day the transaction closed. That
       change from proprietary to nonprofit status occurred by operation of law and without the
       Deparhnent' s approval. It also meant CCU had to reapply to participate in Title IV pro-
       grams after it changed from proprietary to nonprofit status.




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Michael J. Frola, Branch Chief
August 14, 2020
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      If 600.2 embodies what your team says it does-i.e., that the Department must approve an
      institution's change from proprietary to nonprofit status-then both 600.31(d)(7) and
      600.20(b )(2) fall apart. A key sign the position the Department has taken is wrong. The De-
      partment's position creates an internal inconsistency: If it is the Department that decides,
      during the reapplication phase, whether the institution has changed from proprietary to
      nonprofit status, how can an institution's change from proprietary to nonprofit status be
      the triggering event that causes it to lose eligibility and requires it to reapply in the first in-
      stance? The answer is obvious: It cannot be.

      And the contrary notion that the Department seems to have in mind-that state authoriza-
      tion and IRS approval trigger the change from proprietary to nonprofit status for
      600.31(d)(7), but the Department decides nonprofit status for Title IV purposes under
      600.2-does not work. There's only the one definition of nonprofit after all-600.2. So every
      reference in Part 600 to an institution's nonprofit status must be given the same meaning.
      And that cannot happen under the Department's approach which equivocates on the
      meaning of nonprofit.

      Simply put, a court will not accept the Department's interpretation of 600.2, because it is
      contrary to the broader regulatory framework.

2.    It contradicts the Department's past statements on nonprofit conversion. The very reason
      the Secretary designated the change from proprietary to nonprofit status as a change in
      control was in recognition of the fact that an institution could change to nonprofit status
      with "little formality," without Department approval, without reconstituting itself as a new
      corporation, and while "keep[ing] the very same faculty, management, programs and facil-
      ities." 59 Fed. Reg. 22324, 22333. As one commenter noted, and the Secretary agreed, the
      change-in-control provision was necessary to give the Department some role in scrutiniz-
      ing institutions that convert from proprietary to nonprofit. See Id.

      But that role is limited. As the Department explained to Congress, in 1995, because "institu-
      tions can easily switch from profit status to non-profit status," the Department would "sub-
      ject schools that do change from profit to non-profit ... to the same requirements of their
      previous designation for a certain period of time." 1 Abuses in Federal Student Grant Programs
      Proprietary School Abuses: Hearing before the S. Perm. Subcomm. on Investigations, S. Hrg. 104-

1The Department later put that thought into practice, as shown in the 2014-15 FSA Handbook,
Vol. 2, ch. 4 at 2-60, which notes that an institution that converts to nonprofit status must com-
ply with 90/10 for the first year of its nonprofit status. Or look to the Department's internal
change-in-ownership guidance, Ex. A at 3-51 or 3-120, which, again, makes clear that the De-
partment's oversight of nonprofit conversion is exclusively after-the-fact by way of limited pro-
visional conditions.




                                               AR-J-0318                                             JA70
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Michael J. Frola, Branch Chief
August 14, 2020
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       477 at 222 (written answers of David A. Longanecker, Assist. Sec. for Postsecondary Educa-
       tion). But implicit in that statement and inherent in the change-in-control provisions is the
       recognition that an institution changes from for-profit to nonprofit status, even for Title IV
       purposes, without the Department's approval.

       The Department reiterated that point more recently. In 2010, the Department added a new
       paragraph about foreign institutions to the nonprofit definition in 600.2. The new para-
       graph, the Department explained, was meant to be "as comparable as possible to those ap-
       plicable to domestic institutions." 75 Fed. Reg. 42192.

             [T]o make the proposed regulations as comparable as possible to those applica-
             ble to domestic institutions, the Department proposed, and the Committee
             agreed, that a determination that an institution is nonprofit by an entity in the
             institution's foreign country would qualify an institution as nonprofit only if
             the determination is made by a recognized tax authority of the country, and the
             Secretary has recognized that tax authority as one that can make a determina-
             tion using criteria that are similar to those used by the U.S. IRS.

       Id.

       In other words, if the Secretary determined that a foreign tax authority used similar criteria
       to the IRS, then the Secretary "would automatically accept" that tax authority's judgment
       "for purposes of making determinations of an institution's nonprofit status for Title IV,
       HEA purposes." Id. (emphasis added).

       All this makes the following clear: An institution's change from proprietary to nonprofit
       status, even for purposes of the Title IV programs, takes place without the Department's
       approval.

       The Department's newly adopted contrary view counters its own regulations, contradicts
       its own prior statements, and gives greater credence to foreign tax authorities than it does
       the IRS.

3.     It departs from the Department's longstanding practice. Consistent with the change-in-
       control provisions and the Department's past statements, 501(c)(3) status has historically
       been conclusive of an institution's nonprofit status for purposes of Title IV programs.

       The Department's decision to depart from that longstanding practice creates several inde-
       pendent problems. Apart from the fact the Department's interpretation of 600.2 is untena-
       ble as explained above, the Department has yet to formally acknowledge its change in prac-
       tice. And it has not offered a reasonable explanation why the change was necessary. Both
       failures are strong indicators of arbitrary and capricious agency action.




                                               AR-J-0319                                         JA71
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Michael J. Frola, Branch Chief
August 14, 2020
Pages



    All of this started when the Department denied nonprofit status to Center for Excellence in
    Higher Education in 2016. Given your involvement in that case, this letter will exclude
    some detail that you are familiar with. The important point is that case highlights the De-
    partment's change in practice. Consistent with its regulations and past practice, the Depart-
    ment acknowledged, in 2012, that CEHE's planned acquisition of four existing for-profit
    colleges would mark "a change in structure for the institutions from proprietary to not-for-
    profit." That was because the IRS recognized CEHE as a 501(c)(3). And the Department in-
    formed CEHE during preacquisition review that it would have to report 90/10 numbers for
    the four colleges during the first fiscal year after the conversion. That comes directly from
    the FSA Handbook guidance available to colleges at the time.

    Four years later, however, the Department denied CEHE's nonprofit status-to our
    knowledge, the first time the Department ever denied nonprofit status to any recognized
    501(c)(3). In doing so, the Department ignored its prior contrary statements in the preacqui-
    sition review. It did not acknowledge that it had departed from its longstanding practice.
    And it offered no reasoned explanation why the change in policy was necessary.

    Instead former Secretary John King and former Under Secretary Ted Mitchell made public
    comments threatening for-profit institutions that were thinking about taking the perfectly
    legal step of changing their business form: "Don't waste your time." Ex. B. So far as warn-
    ings go that is the 21st century equivalent of heads on pikes.

   Needless to say, that is not in step with the Administrative Procedure Act. It was only after
   the fact and after our firm challenged the Department's denial, that the Department at-
   tempted to create a basis for its policy change. For the first time, after it denied CEHE' s
   nonprofit status, the Department admitted that in the past it had approved nonprofit status
   for Title IV purposes based on state approval and IRS designation. The Department also
   conceded that it mitigated the risk that institutions might convert to nonprofit status to
   avoid oversight by imposing "a transition requirement for the institution to continue to
   meet the 90/10 revenue requirement for one additional year." Ex. C at 3. Finally, the De-
   partment asserted that the new gainful employment regulations created more incentive for
   for-profits to convert and explained that warranted a more detailed examination before ap-
   proving nonprofit status.

   That is where things sit now. As you know, CEHE' s legal challenge ended in a settlement
   agreement that saw the Department approve the colleges as nonprofits. So the Depart-
   ment's after-the-fact explanation has yet to be tested in court. But our firm remains confi-
   dent the Department's policy change violates the Administrative Procedure Act. Initially
   the gainful employment regulations were not in effect when CEHE acquired its colleges. So
   the purported explanation was a non sequitur. Nor were the gainful employment regula-
   tions in effect when the Department denied CCU nonprofit status. So there is reason to




                                          AR-J-0320                                          JA72
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August 14, 2020
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       question the only explanation the Department has offered for the claimed policy change.
       On top of that the Department has never explained why its prior provisional certification
       approach was inadequate to check nonprofit conversions designed to evade for-profit regu-
       lations. Recall that is why the Department adopted the current change-in-control provi-
       sions. That failure alone makes the policy change arbitrary and capricious under the AP A.

4.    It has led to inconsistent treatment. Because the Department has no substantive regula-
      tions on nonprofit conversion and also because the purported reason for the detailed exam-
      ination no longer exists, the Department's approach to nonprofit conversion has been ad
      hoc and inconsistent. Even though GCU closely modeled its transaction on the Purdue-
      Kaplan model the Department approved, for example, the Department still denied GCU
      nonprofit status. And if GCU cannot determine what it must do to convert to nonprofit sta-
      tus, with the significant resources it has available to it, then no college can. Of course, if that
      is the Department's main goal, it is improper. The Department's actions reveal an agency
      whose aim is not to check that institution's convert to nonprofit status for the right reasons,
      but simply to afford the agency the freedom to arbitrarily choose which will be recognized
      as a nonprofit educational institution and which will not.

My client has sought to avoid litigation by attempting to work with the Department to resolve
its nonprofit status. It is much more effective than litigation and GCU values its relationship
with the Department. But you know our law firm has already gone down that path with the De-
partment on this very issue, and we feel confident doing so again. We believe the likelihood a
court will grant discovery, particularly in the absence of any controlling regulations or agency
guidance and given approvals of similarly structured deals, are strong reasons why the Depart-
ment should resolve this issue without litigation. Indeed, we believe those reasons played a pri-
mary role in why the Department of Justice approached CEHE about settling its lawsuit with
the Department of Education.

A quick note on that last point about the administrative record. We know from other litigation
and subsequent FOIAs that the administrative record filed in the CEHE lawsuit was incomplete.
The administrative record did not disclose, for example, the fact the Department referred CEHE
to the IRS for a determination of its continued 501(c)(3) status. It did not include correspond-
ence summaries and other change-in-ownership memos we now know were circulated inter-
nally within the Department. Nor did it include any contemporaneous internal guidance, mem-
oranda, or analysis supporting the Department's decision to change its longstanding practice of
accepting IRS's nonprofit designation. Finally, it failed to include information about or analysis
of other transactions, even though CEHE' s complaint alleged inconsistent treatment of similarly
situated parties. If we cannot resolve this dispute, the Department is on notice now that the ad-
ministrative record should include those materials as they relate to this case.




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Finally, we are confused as to why the Department under this administration wants to continue
the Obama Administration's political attack on for-profit colleges.

At the core it is animus against for-profit institutions that has motivated the Department's cur-
rent treatment of nonprofit conversions. Absolutely no one at the Department read 600.2 to give
it authority to decide nonprofit status before former Deputy Under Secretary Robert Shireman
raised the issue in his September 2015 article The Covert For-Profit. Indeed, that same month
Under Secretary Mitchell, Mr. Shireman' s former boss, explained to several Congressmen that
questions about nonprofit conversions were for the IRS to determine under that agency's stand-
ards. Ex. D. So what accounts for the quick policy change?

More than any other reason, the Department changed how it approached nonprofit conversion
because the prior administration successfully stigmatized the for-profit college label and
wanted to force colleges, including GCU, to bear it. The ability to convert to nonprofit status un-
der clear standards defeated that objective. So the prior administration put nonprofit conversion
in a black box so it could arbitrarily pick and choose at whim when it would recognize non-
profit status.

Sadly, it seems the Department is now repeating the same process with respect to revenue-shar-
ing arrangements-again following the path laid out by Mr. Shireman. The list of colleges that
share tuition with service providers is long. Perhaps the Department should consider adopting
guidance about tuition sharing arrangements, including parameters on how colleges set the per-
centage share service providers receive. But the Department does not have regulations address-
ing that issue. And the Department does not provide any guidance that institutions can follow to
order their affairs. Again, another black box that allows the Department to subjectively approve
or disapprove arrangements based solely on whim. Indeed, CCU negotiated its revenue split with
GCE after analyzing publicly available data about other revenue-sharing contracts, including the
Kaplan-Purdue deal the Department approved, only for the Department to cite the revenue split
as the basis to deny GCU nonprofit status.
We are open to meeting with the Department to discuss GCU's nonprofit status if the Depart-
ment is open to working through this issue with the University. As you know, however, my cli-
ent has already proposed several concessions that address the Department's concerns about its
nonprofit status.
Accordingly, we request a response to the information provided by GCU to resolve the matter
no later than August 28, 2020, informing us of the Department's decision about GCU's non-
profit status. GCU has consistently tried to work with the Department, even though the deci-
sion denying nonprofit status is wrong as a legal matter. My client voluntarily proposed
amendments to the service agreement to answer your concerns, which it had no obligation to
do. And my client incurred the expense of additional valuation reports to confirm the value of
the transaction, again in an effort to work with the Department to resolve this issue. But my




                                           AR-J-0322                                          JA74
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client cannot continue to wait when the Department has given no indication (not even updating
Mr. Roberts about the status of its review) that it intends to meaningfully engage. The Depart-
ment's decision denying CCU' s nonprofit status violates the law, and it is causing ongoing
harm to my client. If we do not have a response by August 28, 2020, the University believes that
the Department will have left it with no other option than to file suit to challenge the Depart-
ment's decision letter and, astoundingly, force the Department to at a minimum communicate
with the University.




c:       Secretary Betsy DeVos
         Reed Rubinstein
         Diane Auer Jones
         Donna Mangold




                                          AR-J-0323                                         JA75
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                    EXHIBIT A




                             AR-J-0324                         JA76
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         shows the new information to the PIPSG Eligibility Liaison. Include an explanation of the
         action to be taken.

After PEPS has been updated:

    7. The new agency will be in PEPS. Select it and review the state agency side by side

    8.   If it is the same state agency, select the It has been determined that the state agency
         entered by the institution is the same as this one in PEPS radio button. Click OK.

    9.   If it is not the same, click Cancel

    10. A pop up box will display asking if you are sure you want to replace the state agency.
        Check again to ensure the state agency is being replaced by the correct state agency.

    11. If it is, click OK to confirm that you want to replace the state agency entered by the
        institution. If they are not the same agency, click Cancel .

    12. Another screen will display indicating that the Agency has been replaced. Click OK to
        clear the screen.


                                  Clicking Cancel at any of the three previous steps will cancel the
                                  replacement.




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3.3.7.3 Section C - Institutional Control and Structure

Question 18- Identify the type of institutional structure - Public, Private nonprofit, or
Proprietary.

Verify with the SPD's financial analyst that the response to this question is consistent with the
audited financial statements. Determine if the institution changed institutional structure. If it
changed from profit (proprietary) to nonprofit or vice versa, the corresponding provisional
condition will apply. Also the type of audit the institution must submit will change. When the
application has been approved, the EA must alert eZ-audit of the change in institution type.




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Version: November 2, 2012                                                                                          3-51
Updated July 17, 2014



                                                 AR-J-0325                                                                   JA77
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    •   The EA must check IRS Designation check box on the Team Recommendation screen.
        if the institution is a private nonprofit institution and submitted documentation of its
        501 (c)(3) status.




        F1e7                If the institution offers only graduate programs, it is not eligible for PELL,
                            ACG, National SMART, or SEOG. If the institution offers only short-term
                            programs, then it is only eligible for Direct Loan.



In addition to the "Change in Ownership" provisional condition, which is used for all non-excluded
change in ownership applications, the EA must select all provisional conditions that apply to the
institution (refer to the Eligibility Checklist) from the pick-list that appears after the EA clicks on
the Provisional button. The conditions are noted in the chart below. Please refer to Section
10.0 - Provisional Conditions and Additional Considerations for more detail on when to use these
provisional conditions.




                     Provisional Conditions Used for Change in Ownership

            PEPS
         Provisional                                Provisional Condition Title
        Reai iO.Il..C.ode
              b)(?)
                               Requirement of Funding Arrangement Other Than Advance
              E)
                               Funding, and Requirement of Surety For Not Less Than 10%
                               of Title IV, HEA Funds
                               FFEL/Direct Loan Cohort Default Rate Condition
                               Unresolved Audit or Audit Liabilities Condition
                               Program Review Condition
                               Change in Ownership
                               Restrictions, Conditions or Limitations Imposed by
                               Accrediting Agency
                               Fundamentals of Title IV Administration Training
                               Requirement
                               Federal Perkins Loan Default Rate Condition
                               Unpaid Accounts Receivable Condition
                               Late Submission of Compliance Audits
                               Restrictions Resulting from Conversion to Nonprofit Status
                               IPEDS Surveys
                               Unpaid Accounts Receivable of Institution Owner
                               Deficiencies in Administrative Capability
                               Restrictions, Conditions or Limitations Imposed by State
             -                 Approving Agency

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                                                    AR-J-0326                                                                  JA78
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                     EXHIBIT B




                             AR-J-0327                         JA79
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From: U.S. Department of Education <OPA@ed.gov>
Sent: Thursday, August 11, 2016 10:32 AM
To: U.S. Department of Education
Subject: EMBARGOED: Department Denies Request for Chain of For-Profit Colleges to Convert to Non-
Profit Status

   EMBARGOED UNTIL 11 A.M. ET ON THURSDAY, AUG. 11,
                        2016.
U.S. Department of Education
Office of Communications & Outreach, Press Office
400 Maryland Ave., S. W.
Washington, D.C. 20202

FOR IMMEDIATE RELEASE:
Aug. 11, 2016

CONTACT:
Press Office, (202) 401-1576 or press@ed.gov

   Department Denies Request for Chain of For-Profit Colleges to Convert to Non-Profit
                                             Status
    Center for Excellence in Higher Education campuses must continue to be accountable to
                        taxpayers, students through federal regulations

The U.S. Department of Education today denied a request from the Center for Excellence in
Higher Education (CEHE), a Utah-based chain of for-profit career colleges, to convert to non-
profit status for purposes offederal financial student aid. The denial means that the colleges'
programs must continue to meet requirements under the federal Gainful Employment
regulations[ed.gov].

"This should send a clear message to anyone who thinks converting to non-profit status is a way
to avoid oversight while hanging onto the financial benefits: Don't waste your time," said U.S.
Education Secretary John B. King Jr.

This denial does not directly affect the approximately 12,000 students who attend the four
institutions owned by CEHE - Stevens-Henager[stevenshenager.edu] in Utah and Idaho,
CollegeAmerica Denver[collegeamerica.edu], CollegeAmerica Arizona[collegeamerica.edu],
California College San Diego[cc-sd.edu] and CollegeAmerica Services[collegeamerica.edu] - but it
does mean that the Department will continue to limit the colleges to getting no more than 90
percent their revenue from Title IV federal student aid. It also means that the institutions must
meet all federal regulations for for-profit colleges.

CEHE first applied for non-profit status with the Department in the fall of 2012. In reviewing
that request, the Department determined that CEHE, which had been a small educational non-
profit that did not provide educational services, acquired four for-profit college companies



                                                                                 Exhibit 13 - 001




                                            AR-J-0328                                               JA80
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owned by the Carl Barney Living Trust. CEHE promised to pay the Trust more than $400
million dollars, and the colleges were merged into CEHE. When that happened, Mr. Barney
became the board chairman of CEHE, and because of the way the transaction was structured,
retained significant control of the colleges, despite the change in ownership to CEHE.

While CEHE is recognized by the Internal Revenue Service as a non-profit company, the
colleges' tuition revenue continues to flow to Mr. Barney through the Trust to pay off the debt
that CEHE owes from acquiring the colleges, and through the rent that some of Mr. Barney's
other companies receive as landlords for several of the college campuses. Under 34 C.F .R. §
600.2 of the Higher Education Act[www2.ed.gov] regulations, non-profit institutions must be
owned and operated by a non-profit where no part of the net earnings benefit any private
shareholder or individual.

"Schools that want to convert to non-profit status need to benefit the public," said U.S. Under
Secretary of Education Ted Mitchell. "If the primary beneficiary of the conversion is the owner
of the for-profit school, that doesn't meet the bar. It's not even close."

Since 2012, the four institutions have continued participating in the Title IV financial aid
programs on month-to-month agreements as for-profit institutions. In a letter to the company's
CEO, Eric Juhlin, the Department approved the change in ownership that CEHE requested but
continues to recognize Mr. Barney as maintaining significant control of the institutions and the
Title IV revenue they produce.

During the review of the change in ownership request, the Department requested additional
documentation from CEHE. The company provided information to the Department but marked
much of it as confidential, and that information has been removed from copies of the letter made
available for public review. Documents subject to CEHE's confidentiality designation would
have to be requested for public review under the Freedom of Information Act.

During the time the applications were under review, risk factors identified in CEHE's financial
statements - including a lawsuit against one of the institutions filed by the Colorado Attorney
General - led the Department to require CEHE to provide a $42.9 million surety, which is 30
percent of the annual federal student aid funding for 2013 for the four institutions. That surety
remains in place but is subject to adjustment based on CEHE's financial condition and other
risks.

To qualify for federal student aid, the law requires that most for-profit programs and certificate
programs at private non-profit and public institutions prepare students for gainful employment in
a recognized occupation.

                                               ###




                                                                                 Exhibit 13 - 002




                                            AR-J-0329                                                JA81
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                     EXHIBIT C




                             AR-J-0330                         JA82
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                                                           December 22, 2016

Eric Juhlin                                                Certified Mail: #7013 3020 0000 7223 5759
Chief Executive Officer
Center for Excellence in Higher Education
4021 South 700 East, Suite 400
Salt Lake City, Utah 84107


               Re:       Reconsideration Decision on Change of Ownership for:
                         Stevens Henager College, OPE 003674
                         CollegeAmerica Denver, OPE 025943
                         CollegeAmerica Arizona, OPE 031203
                         California College San Diego, OPE 021108


Dear President Juhlin:

       I have reviewed the Center for Excellence in Higher Education's ("CEHE") August 21,
2016 request for reconsideration ("Reconsideration Request) of the Department's August 11,
2016 decision letter ("Decision" or "Decision Letter") which denied the application of the above
named institutions ("the Colleges") to convert to nonprofit status. In response to the
Department's request, on September 30, 2016, CEHE provided supplemental information and
documents. ("CEHE September 2016 Response"). Upon review of the Decision Letter, the
Reconsideration Request, and related materials, to include the CEHE September 2016 Response,
the Reconsideration Request to recognize the Colleges as nonprofit institutions is hereby denied.

        CEHE was established as an Indiana public benefit corporation in December 2006, and
was issued a 50l(c)(3) tax exemption by the IRS. CEHE's request for conversion of the
Colleges to nonprofit status results from a merger transaction th?t occurred as of December 31,
2012 ("the Transaction"). As a result of the Transaction, CEHE acquired the Colleges and a
services company owned by five separate corporations ("Acquired Corporations") that had
previously been owned by the Carl Barney Trust ("Barney Trust"). The Colleges had
historically operated as proprietary, for-profit institutions. Prior to the Transaction, CEHE was a
philanthropic organization engaged in educational reform; following the Transaction, CEHE was
transformed into an entity primarily delivering educational services through the Colleges.

I.     The Dec:ision to Deny the Colleges' Conversion to Nonprofit Status was not Based
       on any Improper Motive or Agenda



                              Federal StudentJlid
                              An OFFICE of th• U.S. DEPARTMENT of EDUCATION


                            830 First St., N.E. Washington, D.C. 20202
                                           StudentAid .gov
                                                                                    Exhibit 1 9 - 001

                                                 AR-J-0331                                        JA83
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         In its Reconsideration Request, CEHE characterizes the Decision as "assign[ing]
malicious motives to perfectly moral and lawful activities," and CEHE echoes this theme
throughout the Reconsideration Request. See, e.g., Reconsideration Request at 3. Despite
CEHE's characterization, the Department's decision to deny the conversion to nonprofit status
depends on the structure and impact of the Transaction in the context of the regulatory
requirements for a nonprofit institution set forth in 34 C.F.R. § 600.2. A transaction can be
perfectly "moral and lawful," yet an institution may not qualify as a nonprofit under the
Department's regulations. In a similar vein, CEHE excoriates the Decision as politically
motivated, asserting that "evidence shows that the Decision is driven by an agenda" of a former
Department official, as well as Congressional pressure. Reconsideration Request at 3-4. That the
Decision reached a determination that may appear consistent with the views of some who have
criticized the for-profit industry does not provide "evidence" that the Decision was reached to
champion (or even to mollify) those critical voices. There were two potential outcomes for the
Decision: approve the conversion (or approve it with conditions), or deny it. On either side of
those choices there are critics and proponents. The Decision was driven by neither, and neither
is this decision on the Reconsideration Request.

        CEHE alights on a phrase in the Decision Letter which referred to the Transaction as not
"traditional" in that the Colleges were not acquired by a new owner with the former owner no
longer playing a role in the continued operation of the institution. Reconsideration Request at 3.
The Decision's use of the word "traditional" was descriptive, but not material. The Decision was
based on a full analysis of the Transaction (and its execution), including voluminous documents
CEHE provided in response to multiple requests from the Department. The Department
concluded that nonprofit status was not warranted because of numerous factors in combination,
not because the Transaction was "not traditional." Nor does the Decision imply that Mr.
Barney's continued involvement is "wrong" or "bad." See Reconsideration Request at 3. The
Decision simply concludes that his control and the continuing stream ofrevenue flowing to him,
coupled with other factors discussed fully in the Decision and below, precludes the Department
from approving the Colleges as nonprofit institutions.

II.     The Transaction Resulted in Continued Financia1 Benefit to Mr. Barney and the
        Trust

        A.     There was no Independent Determination of Value by the CEHE Board

         Without regard to either CEHE's or Barney's motivation in entering into the Transaction,
or in structuring it, the Transaction was structured so that the Trust retained the benefit of a
continued stream of Title IV revenues, and Mr. Barney retained control of the Colleges by
obtaining significant control of CEHE. The financing of the Transaction results in financial
benefit which inures to Mr. Barney's beneficial interest via the Trust; lease payments to entities
controlled by Mr. Barney provided additional economic benefit to him; Mr. Barney has retained
control of the Colleges through his role originally as the sole member, and now as one of three
members of CEHE, and as Board Chairman of CEHE's Board; and Mr. Barney retained
additional control through the covenants contained in various note agreements with the Trust.


                                                2



                                                                                 Exhibit 1 9 - 002

                                             AR-J-0332                                          JA84
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       To challenge the determination set forth in the Decision Letter, CEHE has provided
argument and additional documents, both attached to its Reconsideration Request, and in
response to the Department's September 15, 2016 request for supplemental documents. Having
reviewed all of the supplemental material, CEHE has provided no evidence or argument from
which I can conclude that the denial of the Colleges' conversion to nonprofit status should be
changed.

        The Department regulations define a nonprofit institution as an institution that:

        (i) Is owned and operated by one or more nonprofit corporations or associations, no part
        of the net earnings of which benefits any private shareholder or individual;

        (ii) Is legally authorized to operate as a nonprofit organization by each State in which it is
        physically located; and

        (iii) Is determined by the Internal Revenue Service to be an organization to which
        contributions are tax deductible under 26 U.S.C. §501(c)(3) of the Internal Revenue Code
        (26 U.S.C. § 501(c)(3)).

34 C.F.R. §600.2. An institution's state authorization and Internal Revenue Service ("IRS")
determination do not themselves confer nonprofit status for Title IV purposes. This is because
the IRS determination of tax exempt status for an institution reflects an initial approval of an
entity from a limited application process, or could reflect an approval that may have pre-dated
the entity's ownership and operation of the institution. IRS review of the entity's tax exempt
status takes place on an ongoing basis, with later reviews and/or compliance audits to examine
whether tax exempt status should be revoked.

        In prior years the Department primarily depended on the state approval and the IRS' s
designation of the owner's tax exempt status in determining whether an institution qualified for
nonprofit status under the HEA and the Department's regulations. For an institution that was
approved to participate in the Title IV programs as a proprietary, for-profit institution that
applied to convert to a non-profit institution, the Department would also accept the state and IRS
designations, but included a transition requirement for the institution to continue to meet the
90/10 revenue requirement for one additional year. This requirement was used to mitigate the
possibility that the conversion was intended to evade the application of the 90/10 rule.

         Since that time, additional requirements have been established by regulation for
proprietary institutions that offer programs to prepare students for gainful employment in
recognized occupations, so that proprietary institutions may have greater incentives to convert to
a non-profit status that exempts degree programs from the gainful employment requirements. In
response to this change, the Department has determined that a more detailed examination of an
institution is needed before approving it for non-profit status.

        With respect to the Colleges, CEHE had obtained its tax exempt status (as a public
charity) in 2007, five years before the Transaction. Sec Decision Letter at n.l. Following the
Transaction, CEHE sought classification as an educational institution under 26 U.S.C. §
                                                 3



                                                                                    Exhibit 1 9 - 003

                                               AR-J-0333                                            JA85
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170(b)(1 )(A)(iii), by submitting a letter from its counsel with a summary description of the
Transaction and limited documentation. See CEHE September 2016 Response at Exhibit 5. In
its response to CEHE's request, the communication from the IRS does not indicate a thorough
review of the Transaction, or even of the submitted documentation. The response noted that
CEHE had been determined to be a public charity in September 2007 under § 170(b)(1 )(A)(vi) of
the Internal Revenue Code, and simply stated that it had ''updated your public charity status in
our records as you requested." The IRS also stated that CEHE's exempt status under 501(c)(3)
"wasn't under consideration." Letter from IRS to Ofer Lion, dated July 25, 2014.

        Especially given CEHE's substantial changes in mission and operating size from the
public charity that was granted tax exempt status in 2007, where substantial control shifted to the
party from whom the Colleges were acquired, the Decision reflected the appropriate independent
determination of whether the Colleges were "owned and operated by one or more nonprofit
corporations or associations, no part of the net earnings of which benefits any private shareholder
or individual." This is a determination that the Department must make based on its independent
review of each nonprofit conversion, with a detailed review of the individual facts and
circumstances present in each. The Department's review has three principal and interrelated
elements: the institution's ownership, its operation and control, and who reaps the financial
benefit from the institution's operation. These elements involve consideration of myriad facts,
including the structure of the transaction, the financing of the transaction, the value of the
transaction, and the governance of the nonprofit entity. The Decision correctly determined,
following a consideration of all of these factors, that the Colleges were not "owned and operated
by one or more nonprofit corporations or associations, no part of the net earnings of which
benefits any private shareholder or individual."

         The details of the Transaction are set forth in the Decision Letter, and are not repeated in
detail here. As discussed in the Decision Letter, a key element for the Department's
determination was the nature of the financing for the Transaction, and whether it constituted an
excess benefit or personal inurement to Mr. Barney or the Trust for purposes of the nonprofit
status of the Colleges. The level of the CEHE Board's independent assessment of value prior to
entering into the Transaction was properly considered in the Decision Letter. Rather than a
straight asset or stock sale using bank (or a similar) financing from an unrelated party, CEHE
and the Trust entered into a Note Purchase Agreement ("NPA") whereby the Trust purchased
two notes from CEHE in the aggregate amount of $431,000,000 ("Tenn Note A" and "Term
Note B"). The Transaction was approved by CEHE's Board (Messrs. Curtis, Dennis and
Zywicki) at a Board meeting on December 27, 2012. When analyzing the existence of "fair
value," the Department appropriately looked at both the Merger Agreements, and the Board
minutes of that December 2012 meeting. Although the minutes of the meeting recite that the
decision to approve the acquisition was based on "substantial due diligence," the Merger
Agreements themselves state that CEHE performed "limited due diligence review." See, e.g.,
CASI Merger Agreement at ,J5.8, SH Merger Agreement at ,J5.9, CAA Merger Agreement at
1]5.9 (no merger consideration was allocated to CAD or CCSD). The limitations of that review
are relevant to whether the Transaction was based on a valuation that results in benefit to the
Trust, rather than a fair determination of value. The Reconsideration Request attempts to
obfuscate the Department's statements on the level of the due diligence by asserting that:

                                                  4



                                                                                    Exhibit 1 9 - 004

                                               AR-J-0334                                            JA86
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       [T]he Department has misrepresented [CEHE attorney Jay] Mercer's characterization of
       the due diligence conducted by Mercer and the CEHE board when it contends that ''the
       Merger Agreements state that CEHE performed 'limited due diligence review."' The
       Deparh11ent has construed Mercer's statement [relating to "minimal due diligence"
       recommended] to be exactly the opposite of what it says.

Reconsideration Request at 14. The Decision Letter is plainly not referring to "Mercer's
statement" as reflected in either his Affidavit (Exhibit 17 to Reconsideration Request) or his
Memorandum to the Board (contained in Exhibit 2 of the CEHE September 2016 Response) -
both of these Mercer documents were provided to the Deparhnent after the Decision Letter was
issued. It is clear that the Decision Letter quotes the Merger Agreements themselves, which
clearly state that "the Purchaser acknowledges that it has completed limited due diligence review
with respect to the Corporation and the College." See CASI Merger Agreement at ,is.8, SH
Merger Agreement at ,I5.9, CAA Merger Agreement at iJ5.9 (emphasis added). Mr. Mercer's
current characterization of "substantial due diligence" - although it mimics the words of the
December 2012 board minutes - conflicts with his own assessment at the time of the
Transaction: in his draft comments to the Merger Agreement, Mr. Mercer himself added the
language in ,rs.9 about CEHE's "limited due diligence"; he added additional language to ,rs.9
(not included in the final agreement) about other limitations in CEHE's review of the Acquired
Corporation's documents; he commented in reference to 1!6.4 about the "limited due diligence"
being conducted. See CEHE September 2016 Response at Exhibit 3 ("JSM Draft"). The
evidence is consistent with the words of the Merger Agreements - the due diligence conducted
by the CEHE Board prior to the Transaction was "limited."

         The Internal Revenue Service ("IRS") evaluates nonprofit status by, inter alia, whether
there is personal inurement to an insider, or whether there is excess benefit to a disqualified
person. See generally, "Nonprofit Law Guide" (contained in Exhibit 2 to the CEHE September
2016 Response). Mr. Mercer noted both of these issues in his due diligence process, and in his
communications to the CEHE board. His focus was principally on the board member's potential
liability resulting from these issues, rather than the impact of those issues on the resulting
nonprofit status of the Colleges. The CEHE September 2016 Response contains documents
relating to CEHE's August 28, 2012 board meeting (at Exhibit 2), and documents relating to
CEHE's due diligence in October 2012 (Exhibit 3). Notably, Mr. Mercer expresses concern
about private inurement and excess benefit to Mr. Barney resulting from the proposed
transaction. See, e.g., CEHE September 2016 Response at Exhibit 2 (board meeting agenda);
CEHE September 2016 Response at Exhibit 3 (Memorandum to CEHE Board).

        The foundation of the IRS rulings relied upon by CEHE is that fair value is actually
determined by the nonprofit board so as to avoid an excess benefit. See discussion in Section II
B., infra. Indeed, that concept is reflected in Mr. Mercer's agenda for the August 2012 board
meeting and the minutes of that meeting, where he apparently advised that the valuation "is very
important" in determining whether there was an excess benefit. CEHE September 2016
Response at Exhibit 2. While the CEHE Board was considering the potential acquisition, CEHE
understood that it was buying "hardassets in the form of real estate, equal to about 10% of the
value, as well as another 5% of tangible assets. The remainder will come in the form of goodwill
...." Id. (August 28, 2012 Board Minutes). In a follow-up memorandum to the CEHE Board
                                                  5



                                                                                 Exhibit 1 9 - 005

                                             AR-J-0335                                         JA87
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(undated, but included in the August 2012 materials in Exhibit 2 to the CEHE September 2016
Response), Mr. Mercer sets forth his "assumption" that Barney would "contribute as a charitable
gift the value of the goodwill of the colleges," and that "CEHE will purchase the tangible assets
at fair market value." Clearly, this is not what happened, and there is no documentary evidence
submitted by CEHE to explain how this fundamental assumption was altered, resulting in a $431
million purchase price, of which $419 million was goodwill.

        The Decision Letter notes that "there is no evidence that CEHE- as opposed to Mr.
Barney· - conducted any valuation of the Colleges before entering into the Merger Agreement
and resulting financing which obligated CEHE to $431,000,000 in indebtedness to the Trust with
$419,000,000 of that amount representing goodwill." Decision Letter at 4. The Reconsideration
Request challenges this conclusion, and for the first time, 1 CEHE explains that its Board retained
Blue & Company to provide "an independent evaluation ofBarrington's appraisal."
Reconsideration Request at 14. For whatever reason, when CEHE submitted its Reconsideration
Request, it failed to provide the actual the Blue & Company Summary Appraisal Review Report
("Blue Review")(it submitted just the cover, the table of contents, and the curriculum vitae of its
analysts). Yet, it relies on that review to support the fair value of the Transaction, and
accordingly, the Department requested the Blue Review along with other referenced documents
on September 15, 2016. The Blue Review was transmitted along with other requested materials
on September 30, 2016. (Exhibit 1 to CEHE September 2016 Response).

        The Blue Review is not an independent appraisal of the Colleges' value, but rather, a
summary review of work performed by another valuation company (Barrington Resources) for
the Trust. As noted in the Decision Letter, the December 27, 2012 Board Minutes reflect that the
Board reviewed a "qualified appraisal" of the Companies, but it is now unclear what that refers
to - because it is not clear whether the CEHE Board ever actually examined the valuations
prepared by Barrington Research (hereinafter "Barrington Valuations"). The Barrington
Valuations were commissioned by Mr. Barney for use by the "Company" (defined in the
valuation as "College America"), and each state that they were prepared "for tax purposes,"
(Barrington Valuation at 4, Item G), fu1ther supporting the Department's conclusion that this
valuation was prepared for the Trust, and was not prepared for purposes of the CEHE Board's
due diligence. None of the Board minutes produced to the Department reflect a specific
examination - by the individual CEHE Board members, or the Board as a whole - of either the
Barrington Valuations or the Blue Review. Attached as Appendix B to the Blue Review is a set
of power point slides apparently prepared by Barrington and identified as "Presentation to
College America Board of Directors Valuation Presentation." (Emphasis added). Although the
Blue Review ( at page 1) suggests that this presentation was to the CEHE Board, it does not
appear so from the face of the slide presentation. The Blue Review also erroneously states that
the Barrington Valuations ("the appraisal") was prepared for the CEHE Board; as stated above,
and in the Valuations, Barrington was engaged by the Trust, not CEHE.


1 In its September 15, 2016 specific request for the Blue Review, the Department noted that the Report should have

been provided in response to the Department's request (on June 13, 2016) for any appraisals related to the merger
consideration as required by the Merger Agreements. In the CEHE September 2016 Response, CEHE contended
that the Blue Review was not responsive to the June request. In any event, the Blue Review has now been
submitted, and has been reviewed for purposes of evaluating the Reconsideration Request.
                                                         6



                                                                                               Exhibit 1 9 - 006

                                                     AR-J-0336                                                   JA88
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        The record, even as supplemented by the CEHE September 2016 Response, reflects no
substantive value analysis or discussion by the CEHE Board of the fact that the Transaction
would result in $419,000,000 of goodwill. At most, it appears that a board conference ca:11 was
held on November 15, 2012 and reflects that CEHE's executive director (Frederic Fransen)
reported to the CEHE Board "on various aspects of CEHE' s due diligence including a review of
the appraisal conducted by Blue & Co. and a compensation review of the CEO of College
America .... In both cases, the reviews supported the underlying assumptions about the
appropriateness of the transaction." CEHE September 2016 Response, Exhibit 4. Significantly,
the summary of the conference call states that "no materials were prepared prior to the meeting,"
leading to the reasonable assumption that Mr. Fransen's "report" on the due diligence efforts did
not include providing the Blue Review itself, or other related documents, to the CEHE board
members.

        Even if CEHE board minutes had reflected an actual review, discussion and analysis of
the Blue Review by its board members, such a review would not have provided the CEHE board
with a basis upon which to independently determine the fair value of the Transaction to establish
the merger consideration. As noted above, the Blue Review is just a summary review of
Barrington's conclusions. It did not provide the CEHE Board with an independent valuation.
Moreover, the Blue Review makes it clear that its "summary review" was only of the Barrington
power point slides ("the Presentation"), not the Barrington Valuations themselves. The Blue
Review notes that it requested "the underlying valuation report" from CEHE and from
Barrington, but did not receive it. Blue Review at 3, 10. It also appears that, beyond the
Presentation, Blue's analysts had no other documentation specifically referring to the Acquired
Companies and the Colleges - the financial information available to Blue appeared to be limited
to what was in the slides. Blue Review at 3, 10. The Blue Review also notes certain issues with
the Presentation that required "further scrutiny" and "considering the nature and amount of
information included in a presentation format as opposed to a folly-contained appraisal report as
defined by [the Standards for Valuation Services], we cannot draw any conclusions as to the
effect of the underlying information that we did not receive." Blue Review at 5 (emphasis
added); see also Blue Review at 10-11. The Blue Review further notes that the "analyses used in
this report are based on estimates, assumptions, and other information provided to us by the
representatives of the owners of the Company [defined as College America], Barrington and
legal counsel." Id. at 6. The Blue Review concludes that "excluding those points noted
previously," the conclusion of value stated in the Barrington Presentation "is likely fairly stated
and consistent with fair market value." Yet the conclusion comes with an unambiguous caveat:
"However, we requested additional information and have not received that as of the date of this
report. The information requested, but not received as of the date of this report may have had a
significant impact on our conclusion." (Emphasis added). Based upon a review of this
additional information, the Department can reasonably conclude that the CEHE board, in
agreeing to a $431,000,000 Transaction (of which $419,000,000 represented goodwill), did not
independently make a determination of the Transaction's fair value.




                                                7



                                                                                  Exhibit 1 9 - 007

                                              AR-J-0337                                          JA89
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         B.        The Note Agreements do not Constitute True Debt Obligations, Particularly
                   Given Barney's Ongoing Control of the Colleges

        Another factor considered in the Decision Letter is that the obligations under the various
(and evolving) note agreements with the Trust do not actually constitute evidence of a legitimate
debt. CEHE argues that the Decision ignores how loans and lease payments are "classified" on
financial statements and balance sheets pursuant to Generally Accepted Accounting Standards
and Financial Accounting Standards Board standards. Reconsideration Request at 10. These
classifications clearly are not determinative of nonprofit status, and scores of tax cases2 have
analyzed (in both the profit and nonprofit context) whether a payment pursuant to a debt
instrument is a true debt or an equity interest, without regard to how it is characterized on the
entity's financial statements.

        As set forth above, the Transaction was financed pursuant to an NP A whereby CEHE
executed Term Notes A and B (collectively, the "Term Notes") effective as of December 31,
2012. The Notes provided for the acqual and quarterly payment of interest at the rate of 1% per
annum ("Fixed Rate"), with a Floating Rate adjustment as defined in the Notes. Notes at ,i2. See
CEHE 2012 Audited Financial Statements at Note 8. Significantly, the Notes also required
quarterly mandatory prepayments of the greater of 75% of the Excess Cash Flow 3 of CEHE, or
10% ofCEHE's total revenues. Notes at ,is.I. Term Note A matured the earlier of December
31, 2017, or the first fiscal year in which CEHE has at least $50,000,000 Change in Net Assets
(as defined in the NPA). Term Note A at iJ4. Term Note B matured the earlier of December 31,
2019, or the first fiscal year in which CEHE has at least $75,000,000 Change in Net Assets (as
defined in the NPA). See CEHE 2012 Audited Financial Statements at Note 8; CEHE 2015
Audited Financial Statements at Note 7.

        Subsequent to the closing of the Transaction in December 2012, and with the agreement
of the Trust, CEHE's obligation to the Trust under the Notes was modified on two separate
occasions. On March 17, 2015, the CEHE Board canceled the NPA and the Term Notes, and
replaced those instruments with a Contingent Note Agreement ("CNA'') and Contingent Notes A
and B. See CEHE 2015 Audited Financial Statements at Note 7. Pursuant to the CNA,.the Note
payments remained conditioned on CEHE's Excess Cash Flow, and eliminated the alternative

2 See, e.g., Graffia v. C.I.R., 106 T.C.M. (CCH) 261, 2013 WL 4789771106, *15 (T.C. 2013), aff'd, 580 F. App'x
474 (7th Cir. 2014)(and cases cited therein)(conditional nature of the supposed obligation lends additional support to
Tax Court conclusion that the obligation, which was to be repaid from profits of the business, was not a true debt);
Principal Life Ins. Co. v. US., 70 Fed.CL 144, 160 (2006) (identifying some of the factors that courts have
employed in distinguishing between debt and equity in determining whether notes received by shareholders
transferring property to their controlled corporation are viewed as true debt versus disguised equity). See also,
Restland Memorial Park ofDallas v. United States, 509 F.2d 187 (5th Cir. 1975); Rose Hills Memorial Park
Association v. United States, 463 F.2d 425 (Ct. Cl. 1972), cert. den., 414 U.S. 822; and Knollwood Memorial
Gardens v. Commissioner, 46 T .C. 764 (1966) (and cases cited therein).

3Pursuant to the definitions of the NP A, "Excess Cash Flow" is measured by the Change in Net Assets
("CNABIDA"} less certain identified expenses.

                                                          8



                                                                                                  Exhibit 1 9 - 008

                                                      AR-J-0338                                                    JA90
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 calculation based on 10% ofrevenues, as well as the accrual and payment of interest. CNA at 4,
 6 and ,r2.S.l (75% ofCEHE's Excess Cash Flow each quarter). In an e-mail related to the
 approval of the CNA, CEHE's Chief Financial Officer commented that the changes to the Notes
 "reflected the original intent of Mr. Barney that the debt would be contingent on CEHE ma/,,,ing
 money and having available excess cash flow to make debt payments." March 17, 2015 e-mail
 from Paul Gardner (emphasis added).

          CEHE's obligation for payments to the Trust was further modified in November 2015.
 CEHE 2015 Audited Financial Statements at Note 7. On November 6, 2015 (as discussed in
 the Decision Letter), pursuant to a Confidential Settlement Agreement ("Settlement
 Agreement"), Contingent Note B was canceled and Contingent Note A was restated and
 reduced to $75,000,000. Restated Contingent Note A re-imposed the Fixed Rate and Floating
 Rate interest accrual and quarterly payments, and retained the mandatory quarterly payments
 based on 75% ofCEHE's Excess Cash Flows. CEHE 2015 Audited Financial Statements at Note
 7. The Maturity Date for the outstanding principal and interest was defined as "90 days after the
 end of the first Fiscal Year in which the Barney Trust has at least Fifty Million ($50,000,000) in
 Change of Net Assets [and if CEHE is able to refinance the Note]. Restated Contingent Note A
 at ,r2.1 (erroneously designated as ,r3 .1 ), ,r3, and ,r4. l (a) (erroneously designated as ,rs.I (a))
 (emphasis added). The significant reduction reasonably suggests that the initial consideration of
 $431,000,000 (and the corresponding indebtedness) was highly inflated. The Decision
 reasonably concluded that CEHE's obligations under the Term, Contingent, and Restated
 Contingent Notes, which are and were contingent on CEHE "making money," did not have the
 classic hallmarks of debt. As such, the Transaction results in a situation where the net income of
 the Colleges inures to the benefit of the Trust (and to Mr. Barney via the real estate leases).

         In its Reconsideration Request, CEHE argues that the Decision misapplies the law and
 ignores "controlling" IRS precedent. Reconsideration Request at 3, 6-10. Although the revenue
 rulings can provide guidance on the issues relevant here, those rulings are not "controlling" on
 the Department's determination of nonprofit status under its own regulations. 4 An institution
 that participates in Title IV, HEA programs is a fiduciary of the Department's funds. The
 501(c)(3) designation by the IRS results in an entity being tax exempt, and contributions being
 deductible by the donor, but funds from the federal fisc are not directly involved. In any event,
 the authority cited by CEHE does not warrant granting the Reconsideration Request. 5 CEHE

 4 Indeed,
           revenue rulings are not even regarded as precedential or controlling in the Tax Court: they "merely
 represent the position of the Commissioner oflntemal Revenue on a particular issue." Estate ofBeyer v. Comm 'r of
 Internal Revenue, 112 T.C.M. (CCH)356 (T.C. 2016) (citing Alumax, Inc. v. Comm 'r, 109 T.C. 133, 163 n.12
 (1997}, affd, 165 F.3d 822 (11th Cir. 1999)).

  5 CEHE's reliance on the
                            Transaction Exemption, which provides a rebuttable presumption that a transaction is not
  an excess benefit transaction, simply does not apply here. See Reconsideration Request at 9 (citing Treasury
  Regulation §53.4958-6, Comm 'r ofInternal Revenue v. Johnson, 267 F.2d 382 (1 st Cir. 1959), United Cancer
. Council, Inc. v. Comm 'r ofInternal Revenue, 165F.3d 1173 (7th Cir. 1999)). In the first instance, the Department is
  not bound by regulatory presumptions imposed on the Commissioner of the IRS. Even if the Transaction
  Exemption is considered however, CEHE could not establish its entitlement to the Exemption. For an entity to take
  advantage of the presumption of fair market value, the tax-exempt organization must establish fair value by
  "appropriate data of comparability." §53-4958-6(a)(l} and (c)(2), including independent appraisals of value. In
  United Cancer (cited in the Reconsideration Request at 6), the entity that was the subject of the IRS's focus was an
                                                          9



                                                                                                  Exhibit 1 9 - 009

                                                       AR-J-0339                                                    JA91
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 argues that the Department has approved other conversions where the former for-profit owner
 "remained involved," relying on Revenue Ruling 76-91 and 76-441. Reconsideration Request at
 6. 6 Mr. Barney did not simply "remain involved." By virtue of his roles as lender (via the
 negative covenants as described in the Decision Letter), and as a CEHE member, and as
 Chairman of CEHE' s Board, Mr. Barney has the type of control over CEHE that is inconsistent
 with a true debtor-creditor relationship. See Decision Letter 9-10. CEHE does not contest Mr.
 Barney's level of control, it just argues that the IRS regularly allows nonprofits to be founded
 and controlled by a single individual or family. Reconsideration Request at 7. The IRS also
 regularly examines whether revenue inures to the person or family in control.

        CEHE also argues that negative covenants are "customary in commercial lending." ·
Reconsideration Request at 10-11. Again, CEHE misses the point of the Decision. The
Department's denial of nonprofit status was not based solely on the negative covenants, or even
the fact that Mr. Barney retains control of the Colleges by virtue of the combined power of the
negative covenants, his position as a CEHE member, and his position as Board Chair.7 Rather, it
is the combination of all of the factors cited in the Decision Letter: Barney's pervasive control;
the lack of an independent fair market valuation by the CEHE Board in agreeing to the $431
million Merger Consideration; the fact that the various note agreements and notes do not reflect a
true debt obligation; and the continuing flow of revenue to Mr. Barney and the Trust. 8



outside fund.raising finn ~ not an insider like Mr. Barney. The Seventh Circuit found that inurement (the only basis
upon which the Tax Court upheld the IRS' s revocation of the charity's exemption) did not apply because the
fundraising firm, although its contract was advantageous, was not an insider. That is simply not the situation
presented here. The United Cancer Court did however, leave open the question of private benefit for consideration
by the Tax Court on remand. Nor does Johnson provide any support to CEHE. There, the First Circuit determined
that "the bonds were true evidences of indebtedness and the voting rights only served as additional security for the
payment of the purchase price and not to reserve to the sellers a proprietary interest in the business." 267 F.2d at
385. Again, that is not the situation here.

6
  These revenue rulings are distinguishable on other grounds. In 76-91, there is no mention of owner financing, and
in 7 6-441 two situations are presented. In Situation 1, the IRS determined that the school qualified for tax
exemption, based on the fact that "personal property" of the former for-profit school was purchased at fair market
value, lease payments were at "fair market»and salaries paid to the former owners were "reasonable." In Situation
2, the IRS determined that the school did not qualify for tax exemption, based on the fact that the notes to the former
owner exceeded the "fair market value of [the transferred] assets."

7 As described in the Decision
                                  Letter, the November 2015 Settlement Agreement also required the appointment of
two other members to CEHE. Mr, Barney himself chose the two new members, and regardless of whether two or
twenty members were added, they cannot "out-vote" Mr. Barney, because approval of any action by the members
requires unanimous consent. See September 1, 2015 Action by Unanimous Consent, amending §2.01 of the Bylaws
(which provided for voting under Indiana law). Thus, Mr. Barney retained the ability to block any action requiring
member approval, including with regard to the Negative Covenants in the CNA, and the extensive member approval
items in the February 2014 Bylaw amendments, and he thereby retained the power to unilaterally withhold consent
for a variety of CEHE actions.
8 CEHE attempts to
                      draw a comparison between the debt in its acquisition of the Colleges and the debt of nonprofit
institutions (naming Columbia and Stanford), suggesting that the analysis set forth in the Decision would render
those institutions as "for profit." Reconsideration Request at 9, and Exhibit 14 (excerpt from Columbia 990) and
Exhibit 15 (excerpt for Stanford 990). This comparison is so lacking in legitimacy that it can be dispatched with
little ink unlike Mr. Barney, the Columbia and Stanford bondholders do not control those institutions, nor is there
                                                          10



                                                                                                   Exhibit 1 9 - 01 0

                                                       AR-J-0340                                                     JA92
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          C.       Other Financial Benefits also Flowed to Mr. Barney

         Another element of economic benefit flows to Mr. Barney as a result of nine lease
 agreements between the Colleges and real estate entities owned or controlled by Mr. Barney. At
the time of the Transaction, seven of those leases were already in place, with lease expiration
dates ranging from 2015 to 2020. In October 2012, Mr. Mercer was allowed to review
documents in CollegeAmerica's data room. CEHE September 2016 Response at Exhibit 3
(Memorandum to CEHE Board). He noted certain issues "of concern," including the potential of
private inurement and excess benefit to Mr. Barney as a result of the leases. He stated his
understanding that the real estate properties the Colleges leased would be donated by Mr.
Barney, and if they were not donated, an excess benefit, conflict of interest, and private benefit
analysis would have to be performed, to determine whether the leases from Mr. Barney's real
estate company were "in the best interest of the Colleges: location, cost, size, [etc.J". Id. at 2, 5.
The documents submitted by CEHE provide no evidence that any such analysis was ever
performed, whether by Mr. Mercer, or a real estate expert, or the Board itself, despite a bare
recitation in the December 27, 2012 Board Minutes that the Board has "reviewed the leases" and
other "Related Party Agreements" and the terms are "equal to fair market value or better."
December 27, 2012 Minutes at 6. As set forth in the Colleges' and CEHE's audited financial
statements, from the date of the Transaction through 2015, those leases resulted in nearly $15
million in payments to Mr. Barney's real estate companies. The Decision Letter correctly
concluded that this benefit to Mr. Barney was an additional factor supporting denial of the
conversion of the Colleges to nonprofit status.

        In addition, CEHE also provided a revised schedule of compensation and expense
reimbursement when it submitted the CEHE September 2016 Response (at Exhibit 6). 9 That
schedule reveals that Mr. Barney received compensation as "Chief Marketing Officer" up until
early January 2015. He was paid $95,833 in 2013, and $100,000 in 2014. Yet, there does not
appear to be any determination by the CEHE board that this was appropriate compensation for
the position -- the only compensation related information pertained to Mr. Juhlin (compensation
analysis contained in Exhibit 4 of the CEHE September 2016 Response). The compensation to
Mr. Barney as marketing director thus provides further evidence of personal benefit to him from
the Colleges.

III.     The Denial of Nonprofit Status was Warranted




any suggestion (let alone evidence) that the tax-exempt bonds were issued in anything other than a transaction at fair
market value.

9 In its response to the Department's June 13, 2016 request for information and documents, CEHE identified the
amounts of"Annual Compensation & Expense Reimbursement Paid for Services as CEHE Member or Director."
(Emphasis Added). See Exhibit 3 to CEHE June 29, 2016 response to the Department's June 2016 request. When
the Department requested additional information to evaluate the Reconsideration Request, it advised CEHE that its
June 2016 request for information about "compensation or reimbursements" paid to members and directors was not
limited to compensation relating to services as member or director.
                                                         11




                                                                                                  Exhibit 1 9 - 01 1

                                                       AR-J-0341                                                    JA93
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        The Decision represents the reasoned determination of the Department that the
Transaction, because of the continued benefit to Mr. Barney and the Trust coupled with his
significant control, deprives the Colleges from converting to nonprofit status as a result of their
ownership by CEHE. I have reviewed the record supporting the Decision, as well as the
additional information and documents submitted with, and subsequent to, CEHE's
Reconsideration Request, and conclude that there is no basis to reverse or modify the Decision.
CEHE's request to convert the Colleges to nonprofit status is denied. The status of the Colleges
can be re-examined when the institutions apply for recertification at the end of the provisional
participation agreements, and changes in the relationship and agreements between Mr. Barney
and CEHE during the intervening period may lead to a different determination in the future.

        This is a final decision of the Department.



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                                                            -
                                                      Ron Bennett
                                                      Director, School Eligibility Service Group
cc:

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                                                12



                                                                                   Exhibit 1 9 - 01 2

                                              AR-J-0342                                            JA94
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                     EXHIBIT D




                             AR-J-0343                         JA95
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                         UNITED STATES DEPARTMENT OF EDUCATION
                                                                                 THE UNDER SECRETARY


                                        September 9, 2015



Honorable Rosa L. DeLauro
House of Representatives
Washington, DC 20515

Dear Congresswoman DeLauro:

Thank you for your April 27, 20 l 5, letter to Secretary Duncan regarding the conversion of for-
profit colleges to nonprofit institutions. Your letter was forwarded to the Department of
Education's (Department's) Office of the Under Secretary, and I am pleased to respond on behalf
of the Secretary. A copy of this response is also being sent to the cosigners of your letter.

The Department acknowledges and understands your view that the nature of proprietary
ownership of a school is to provide private benefits to its owners, and this framework may be at
odds with the objective of a nonprofit entity to provide quality educational services to benefit the
public without providing undue financial benefits to the individuals in control. The Department
shares your concern that when a proprietary school owner converts a school to nonprofit status,
the arrangement might be structured to retain the for-profit incentives and the management
behaviors for the fonner owner who continues to hold a significant role at the institution.

Your letter refers to an article in the N ew York Times dated March 2, 20 l 5, entitled "Some
Owners ofPrivate Colleges Turn a Tidy Profit by Going Nonprofit," and notes certain
arrangements and conditions that may provide significant revenues to the former proprietary
school owner(s).

You also refer to a situation where a former proprietary school owner is a major creditor to the
nonprofit entity, and has sole power to create and disband the college' s board of trustees. You
ask whether these payments by the nonprofit entity to a former owner would violate the Anti-
Deficiency Act. These examples would not be violations of that Act as the Federal student aid
funds are provided to the nonprofit entity for the institution to use for its eligible students. The
amount of Federal student aid funds is based upon the students and programs at the institution.
In addition, eligible loan funds are mandatory and not subject to appropriations. With respect to
the Federal student aid funds earned by the nonprofit institution, there is a separate question of
whether it is appropriate for the nonprofit entity to engage in the types of arrangements identified
above, and the Internal Revenue Service (IRS) wouJd determine whether those activities are
permissible under the nonprofit rules.

Your letter also asks whether the Department has consulted with th.e IRS when reviewing
applications to approve a conversion of a for-profit institution to a nonprofit institution regarding
a nwnber of scenarios where the former owner retains some type of relationship with the
institution.



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The issues raised in your letter concerning whether the payments and services provided to the
former owners of a nonprofit are noted by the Department during a review, and are brought to
the attention of the IRS for review under that agency's standaroo. Where appropriate, the
Department has made referrals to the IRS for a review of information received through the
application process.

As part of our current procedures, we review the application for approval of the conversion
submitted to the Department, and also request supporting documents that may include:

   •    the sales agreement and any other related party agreements;

   •    obtaining from the institution a narrative explanation of the roles of the former owners
        and executives of the for-profit school in the management of the nonprofit after the sale;
        and

   •    identifying any pwported donation of assets by the for-profit owners to the nonprofit
        enterprise, and the impact that such donations might have on the control of the nonprofit.

As a part of this process, the Department reviews the sales documents and other agreements to
gain an understanding of the structure and operations of the nonprofit entity, and to identify any
continuing responsibilities, executive positions, and services to the nonprofit entity provided by
the former owners or related parties. The executive officers or key employees of the nonprofit
entity are checked to see if any have been debarred from participating in Title IV programs. The
financial statements of the nonprofit entity are reviewed, and when questions arise, the audit
work papers are also reviewed. In the past, the Department has not encountered issues where the
value of a donated asset was material, but Wlll consider this question in more detail going
forward. The Department continues to assess ways to improve our existing procedures and
enhance our coordination with the IRS regarding our respective reviews offor-profit conversions
to nonprofit.

Regarding your request that the Department impose an immediate moratorium on new approvals,
the Department cannot stop institutions from undergoing changes of ownership or conversions
from one type of institution to another and then applying to the Department for new approval.
The number of these types of conversion from for-profit to nonprofit has been minimal in the last
decade. The Department carefully reviews all conversion applications, and during the review,
which may include an extended review period, the institution may continue to participate on a
temporary approval that runs from month to month until a final decision is issued on the
application. If the application is approved, the institution then participates under provisional
certification. When an institution participates on a provisional basis, the institution's Program
Participation Agreement with the Secretary includes provisional conditions th.at the institution
must abide by in order to maintain its approval to participate in the Title IV, HEA programs.
The provisional period may be from one to three years, during which the Department exercises
an increased level of monitoring and oversight of the institution' s Title IV participation.




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You also asked if the conswner infonnation in our College Navigator site accurately portrays an
institution' s nonprofit status. College Navigator is populated with data provided by institutions
through an annual survey submission and from other Department resources (e.g., Cohort Default
Rates). Data are validated on an annual basis for data fields such as the not-for-profit status and,
if determined to be in error, are corrected for the next annual release. An institution's nonprofit
status is reviewed annually by the Department through the audited financial statements and
compliance audits that institutions are required to submit annually in addition to any application
submitted to the Department for a change in ownership that may include a conversion from a for-
profit to nonprofit status.

In reference to the details regarding conversions to nonprofit status from cwrent for-profit
institutions, the Department currently has two open cases regarding conversion applications, for
Herzing University and the Center for Excellence jn Higher Education; both of these are still
undergoing substantive review. The Department is not aware of any recent conversion
application or request for guidance from Career Education Corporation regarding a change to
nonprofit. However, Grand Canyon University has informed me and other Department officials
that it is contemplating, and has shared general information about, potentially converting to a
nonprofit entity. In response to your question, the University has not submitted an application
for a change in owners~ip.

FinaUy, you requested information regarding past conversion requests that have been approved.
The conversion request from Everglades University was approved in 2002, Keiser University' s
conversion was approved in 2011, and Education America Remington College's conversion was
approved in 2013.

Should you have other questions regarding this matter, please contact Lloyd Horwich, Acting
Assistant Secretary in the Office of Legislation and Congressional Affairs, at 202-40 I•0020.




                                          ~L  Ted Mitchell




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August 28, 2020                                                                By Electronic Mail:
                                                                               sgombos@glpclaw.com

Mr. Steven M. Gombos
Counsel for Grand Canyon University
11350 Random Hills Road
Suite 400
Fairfax, VA 22030


RE: Grand Canyon University, OPE ID 00107400

Dear Mr. Gombos:

Thank you for your correspondence dated August 14, 2020 to Secretary of Education Betsy
DeVos regarding Grand Canyon University ("GCU"). Your letter was forwarded to the U.S.
Department of Education's ("Department's") Federal Student Aid ("FSA") office for review and
response.

Your letter requests "that the Department join the Internal Revenue Service, the State of Arizona,
and the Higher Leaming Commission, in recognizing the University's nonprofit status." In
addition, you have asked the Department "to formally respond to [GCU's] letter to Mr. Frola no
later than August 28, 2020."

FSA has oversight of institutions that participate in the federal student aid programs authorized
pursuant to Title IV of the Higher Education Act of 1965, (HEA), as amended and specifically
institutions' adherence to federal financial aid regulations. On November 6, 2019, the
Department issued a letter approving GCU's continued participation under its new ownership but
denying GCU' s request to convert to nonprofit status for purposes of its participation in Title IV
programs ("November 6, 2019 Letter"). That letter noted that the Department makes its own
determination of nonprofit status for a school's participation in Title IV. Although state and IRS
approvals are required for nonprofit status under the Department's regulations, those approvals
are not the sole determining factors, nor does the Department simply defer to those
determinations. In regard to the IRS designation of tax-exempt status, and as noted by the
November 6, 2019 Letter, the IRS approval was issued three years prior to the transaction that
closed on July 1, 2018, and there is no evidence that the IRS conducted a comprehensive review
of the transaction. Unlike the IRS's initial grant of tax-exempt status, the Department's
determination of nonprofit status considers the structure and planned operations of the institution
when its owner( s) apply for that change of status, and seeks to ensure that a nonprofit
institution's revenues - a good portion of which are generated from Title IV funds - are
primarily devoted to the mission of the school and not to other parties, including (as here) the
shareholders of the prior owner. The November 6, 2019 Letter identified a number of factors
contributing to the Department's determination that GCU did not meet the regulatory definition

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of a nonprofit. As detailed in the letter, a significant factor was the Master Services Agreement
entered into between GCU and its former owner, Grand Canyon Education, Inc. ("GCE"),
pursuant to which there is an ongoing relationship between the parties where sixty percent of
GCU's revenue is paid to GCE.

As you know, the parties to the GCU transaction closed the transaction without the benefit of a
pre-acquisition review by the Department. That decision was certainly within the parties' rights
to do so. On August 30, 2018, the Department countersigned the Temporary Provisional
Program Participation Agreement ("TPPPA") which allowed GCU to continue its participation
in Title IV programs while the Department conducted a post-closing review of the transaction
and the request to convert to nonprofit status. In December 2018, at GCU' s request, the
Department approved some new programs that had been added prior to July 1, 2018, and in
January 2019, the Department approved additional programs that GCU added after July 1, 2018.

Immediately following the July 1, 2018 closing of the transaction, the Department requested
additional documents to conduct its post-closing review of the transaction. Over the course of the
following months there were additional requests for information or documents, and GCU
provided the information that was requested. Many thousands of pages of documents were
carefully reviewed and analyzed by the Department before the November 6, 2019 Letter was
issued. The documents included voluminous valuations of real property and other assets, as well
as a report analyzing the strategic options available to GCE, including transferring GCU to new
ownership, with GCE as the services provider as an alternative to the status quo where GCU
remained under GCE ownership, as well as another report containing a transfer pricing study.

On November 14, 2019, the Department and GCU entered into (effective by the Department's
countersignature) a Provisional Program Participation Agreement ("PPPA") which authorized
GCU's continued participation in the Title IV programs under its new ownership, albeit
continuing that participation as a proprietary school. The PPPA continues GCU's participation
through September 30, 2022.

Following its receipt of the November 6, 2019 Letter, GCU requested a meeting with
Department representatives. That meeting was held on December 16, 2019, and included six
representatives of GCU, and six representatives of the Department. The principal focus of the
meeting was GCU' s presentation of a power point featuring students and community members
praising GCU's accomplishments on campus and in the community. The Department agreed
with the GCU representatives that those activities are worthwhile and commendable, however
explained that they do not change the factors identified in the November 6, 2019 Letter which
the Department determined precluded its approval of nonprofit status for GCU.

On January 8, 2020, the Department received a letter from Will Gonzalez, Chairman of the GCU
Board of Trustees, which included a term sheet and an amended services agreement, and
requested that the Department reconsider GCU's request to convert to nonprofit status as a result
of those changes. On January 17, 2020, the Department responded to Mr. Gonzalez's letter,
advising him that the Department would not be able to re-determine GCU' s status based on the
materials he provided, but that additional documents and information would be needed, including
the proposed amendment to the purchase agreement (not just a term sheet), updated valuation
studies and an opinion from an independent expert.

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The requested valuation and review documents were submitted to the Department on May 6 and
May 13, 2020. On July 1, 2020- only six weeks later, GCU wrote to the Department seeking a
status update on the Department's review of these new materials, 1 despite the fact that it took
nearly four months for these materials to be submitted to the Department. Now the Department
must conduct another thorough review and analysis of these new studies and the proposed new
agreement.

In addition to GCU's request to conduct a second post-closing review of the transaction, the
Department has numerous other change in ownership applications currently under review, some
of which are also proprietary to nonprofit conversion applications. All these applications require
a substantive review- the Department does not simply conduct a box-checking exercise. The
Department attempts to process applications and requests for reconsideration in the order
received, while taking into consideration that reviews arise during different times of the change
of ownership cycle, the nature of the review, the issues presented, and the complexity of the
transaction all necessarily impact the timeline for any given review. With respect to GCU's
request, the Department has already devoted significant time and resources to its original
determination, and this supplemental review will not displace other reviews already in process.
We understand that the parties want to restructure their transaction for purposes of seeking a
reconsideration of the original determination, and we anticipate that the review will be completed
within the next few months. Although the Department tries to process a number of reviews at a
time, that process is necessarily impacted by the workload of the Department personnel involved
in these reviews.

Although classified as a proprietary institution for Title IV purposes, the only additional
regulatory requirement is that GCU must continue to meet the 90/10 eligibility requirements
described in 34 C.F.R. §668.28. The gainful employment program requirements previously set
out in 34 C.F.R. Subpart Qare no longer in effect as of July 1, 2020.

There has been no interruption to the flow of Title IV funding to GCU throughout this process.
The Department notes GCU' s title IV funding has increased steadily over the past 3 fiscal years.
For year ended June 30, 2018 - $960,066,272.91; for year ended June 30, 2019 -
$1,013,596,260.35; and for the year ended June 30, 2020 - $1,165,945,308.25.

In addition to the increase in Title IV funding the Department notes that as of June 30, 2019,
GCU's enrollment had grown to 87,590, which was an increase of7.3% from the prior fiscal
year (see August 6, 2019 8K filed by GCE). For the current year, as of June 30, 2020, GCU's
enrollment had grown to 94,606, which is an increase of 8% from the prior fiscal year (see
August 4, 2020 8K filed by GCE).

The Department's goal for completing its review of this matter is November 15, 2020,
contingent on whether additional materials are needed to complete the Department's review.
The Department will contact GCU if further information or documents are needed.




1 Although the Department endeavors to provide status updates when requested, we are inundated with such

requests, in addition to processing all of the substantive work. As a result, sometimes a status request may be
missed. Usually, an institution will follow up with FSA with a courtesy reminder of the request.
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If you have any additional questions, please contact Michael Frola, Division Chief for the Multi-
Regional & Foreign School's Division at 202-377-3364 or via email at Michael.Frola@ed.gov.

                                             Sincerely,



                                             Robin S. Minor
                                             Deputy Chief Operating Officer
                                             Office of Partner Participation and Oversight


cc:    Brian Roberts, GCU Chief Administrative Officer, General Counsel, and Secretary




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